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      IN THE CIRCUIT COURT OF FAULKNER COUNTY, ~~~L~~
                           - - - - - - - -DMSION
 CHRISTOPHER MILLER and
 KACIMILLER                                                       PLAINTIFFS

 v.                         Case No.- - - - - - - -

 FIRST AUTOMOTIVE SERVICE
 CORPORATION, CREDIT ACCEPTANCE
 CORPORATION, andJOHN DOES 1-10                                 DEFENDANTS


                                   COMPLAINT


       Comes now the Plaintiffs Christopher Miller and Kaci Miller through their

attorneys CROWDER MCGAHA, LLP, and for their Complaint against First

Automotive       Service   Corporation,   Credit   Acceptance   Corporation         and

John Does 1-10, state:

       1.       This Action is for damages, costs, and attorney's fees for the

Defendants' wrongful denial for covered repairs to Plaintiffs' used 2010 Chevrolet

Silverado 1500 Crew Cab VIN 3GCRKPE37AG195329 (the "Vehicle"), and the

resulting wrongful repossession.

                      PARTIES, JURISDICTION & VENUE
       2.       Plaintiffs are adult individuals who reside in Faulkner County,

Arkansas.



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                                                                        EXHIBIT 1
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       3.    Defendant      First   Automotive      Service    Corporation      ("First

Automotive,,) is a New Mexico Corporation. First Automotive may be served with

process through: Corporation Service Company, 300 Spring Building, Suite 900,

300 S. Spring Street, Little Rock, AR 72201-2425. First Automotive sells vehicle

service contracts ("VSC") for retail installment contracts acquired by Credit

Acceptance Corporation. Under the VSC, First Automotive is listed as the

"Administrator Obligator."

       4.    Defendant Credit Acceptance Corporation is a Michigan Corporation.

Credit Acceptance Corporation may be served with process through: Corporation

Service Company, 300 Spring Building, Suite 900, 300 S. Spring Street, Little Rock,

AR 72201-2425.

      5.     John Does 1-10 are persons/entities whose identity is unknown to

Plaintiffs and Plaintiffs, attorney who may have liability for the causes of action. An

affidavit of same from Plaintiffs, attorney is attached hereto as Exhibit A and

incorporated by reference under Ark. Code Ann.§ 16-56-125(c).

      6.     The venue is proper here, because each of the causes of action alleged

accrued in Faulkner County, Arkansas, and because Defendants conduct substantial

business in this county.




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       7.    This Court has subject-matter jurisdiction over this Action under

Ark. Const. Amend. 80 §6(A) which makes the trial court "the original jurisdiction

of all justiciable matters not otherwise assigned pursuant to the Arkansas

Constitution.»

      8.     This Court has personal jurisdiction over Defendants under

Ark. Code Ann. § 16-4-l0l(B) and the due process clause of the Fourteenth

Amendment to the United States Constitution.

                                      FACTS

      9.     On March 3, 2016, Plaintiffs purchased the Vehicle from II Friends

Auto Sales in Greenbrier, Arkansas.

      10.    The Plaintiffs financed the sale through Credit Acceptance Corporation

(CAC).

      11.    The Plaintiffs entered into a retail installment sales contract with CAC.

See Exhibit No. 1, Retail Installment Sales Contract.

      12.    The retail installment sales contract required Plaintiffs to make monthly

payments of $513.00. At all times, Plaintiffs made timely monthly payments on the

Vehicle.

      13.    The Plaintiffs also purchased and financed a First Automotive VSC for

$1,619.00.



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       14.       When the Plaintiffs' purchased the Vehicle, it did not have the original,

factory tires.

       15.       Plaintiffs were provided a brochure for a First Automotive by

SouthwestRe Superior Protection Plan. The brochure represented:

                 a.    You've probably experienced or witnessed an unexcepted
                       vehicle breakdown. These are always inconvenient and
                       often expensive. But with mechanical protection from
                       Superior Protection Plan you can be protected from the
                       high cost of unexpected mechanical breakdowns and
                       component failures. Superior Protection Plan is the
                       intelligent choice to protect you from the high cost of
                       automotive mechanical breakdowns.

             b.        VEHICLE SERVICE CONTRACTS INCLUDE
                       VEHICLE PROTECTION

                       Superior Protection Plan pays for the costs of parts and
                       labor covering the repair or replacement of major
                       component parts.

See Exhibit No. 2, Superior Protection Plan Brochure.

      16.    The VSC provides coverage for:

             1.     Engine-Engine Block and Cylinder Heads are covered
             when damaged due to the failure of an internally Lubricated Part.
             All internal Lubricated Parts, harmonic, harmonic balancer,
             turbocharger, supercharger, timing gear, chain and bolt, head
             gasket, timing cover, timing belt, intake and exhaust manifolds,
             valve covers, oil pan and engine mounts.

See Exhibit No. 3, Vehicle Service Contract.




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       17.   After Plaintiffs purchased the Vehicle, on or about July 22, 2016,

Plaintiff replaced the original tires with aftermarket tires they bought. Christopher

Miller is a welder and needed the tires for his job.

       18.   On or about January 11, 2017, Plaintiffs noticed the Vehicle's oil

pressure loss warning light came on, and the Vehicle's engine made a grinding

knocking noise.

      19.    On or about January 11, 2017, Plaintiffs took the Vehicle to Crain Buick

GMC of Conway ("Crain Buick") for repairs.

      20.    The service technician at Crain Buick noted the Vehicle made a

grinding and knocking noise. See Exhibit No. 4, Crain Buick Repairs,

January 11, 2017. The service technician replaced the oil relief valve and compressor

and added five quarts of oil.

      21.     Crain Buick repaired the Vehicle's oil pressure loss issue, submitted

the claim to First Automotive. Southwestre, Inc. ("SouthwestRe"), paid Crain

Buick $1,348.09. See Exhibit No. 5, SouthwestRe Payment. Plaintiffs paid the

$100.00 deductible. SouthwestRe is a "Third Party Administrator," for First

Automotive, also based out of Albuquerque, New Mexico.




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       22.    Plaintiffs again experienced the oil pressure loss and the grinding

knocking noise. On or about June 9, 2017, Plaintiffs took the Vehicle back to Crain

Buick. The Vehicle remained at Crain Buick for the entire month ofJune.

       23.   On June 12, 2017, Crain Buick tore down the engine to diagnose the

issue. The technician had the oil pan off of the Vehicle and took the rod cap off the

pistons.

      24.    Crain Buick found:

      EXCESSIVE CRANKSHAFT ENDPLAY (MEASURED 0.015, SPEC NO
      MORE THAN 0.0078) CYLINDER #4 & #8 ROD BEARINGS HAD
      STARTED TO SPIN. SCORED CRANKSHAFT AND #4 CYLINDER
      WALL.

See Exhibit No. 6, Crain Buick Repairs,June 12, 2017.

      22.    Crain Buick billed $840.00 for the engine tear down.

      23.    Defendants (or one of their contractors) sent an inspector to Crain

Buick. The inspector took photographs of the Vehicle, including the point of failure

and took notes, and left the dealership.

      24.    The Crain Buick technician noted that the issues with the Vehicle were

caused by the failure of the engine's internally lubricated part.

      25.    Crain Buick invoiced Plaintiffs $1,004.85 for the engine tear down, with

applicable tax and a miscellaneous charge.




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•



           26.   On or about July 12, 2017, Plaintiffs called and went to Crain Buick to

    inquire about the repair status of the Vehicle. Crain Buick told Plaintiffs that the

    warranty was canceled because of an issue with "mileage tampering.,,

           27.   Christopher Miller came back to Crain Buick later that week to remove

    his tools from the Vehicle and his tires.

          28.    The next day, Christopher Miller returned with the original tires and

    gave them to Crain Buick. Christopher Miller asked what it would cost to have the

    Vehicle put back together. Christopher Miller said he found an engine to put in it.

    He was told it would cost $950.00 plus tax to put the engine. Christopher Miller was

    told he would need a deposit for the repairs. Christopher Miller agreed to deposit

    after he received his next paycheck within a week.

          29.    On July 17, 2017, Credit Acceptance issued an order to A Professional

    Auto Recovery to Impound and Repossess the Vehicle. See Exhibit No. 7, Order to

    Impound Repo,July 17, 2017.

          30.    On July 21, 2017, First Automotive Service Corporation and Western

    Diversified Services, Inc., formally canceled the Vehicle's warranty. The reason

    what that the Vehicle had "oversized wheels and tires and tires that were not to the

    manufacturer's original specifications.,,




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       31.      On or about July 21, 2017, Christopher Miller learned his Vehicle had

been towed from Crain Buick.

       32.      Christopher Miller reported the Vehicle as stolen.

      33.       On or about July 21, 2017, CAC contacted Christopher Miller and said

he had fallen behind on his payments, he was up for repossession, and CAC needed

to get the truck. CAC also said the Vehicle was reported abandoned.

      34.       By a letter dated July 28, 2017, Plaintiffs were notified that CAC had

repossessed the Vehicle from Crain Buick. CAC said it had the Vehicle "because

you broke promises in our agreement." However, when CAC repossessed the

Vehicle, the Plaintiffs were not delinquent on any payments and had broken no

promises in the retail installment contract.

      35.    As of August 23, 2018, CAC reported to Plaintiffs' Credit Reporting

Agencies that the Vehicle was in a "Voluntary Surrender" Status.

 COUNT I-DAMAGES AND INJUNCTIVE RELIEF FOR VIOLATION
              OF ARK. CODE ANN.§ 4-9-503

      36.    Plaintiffs incorporate all paragraphs herein.

      37.    Ark. Code Ann. § 4-9-503 requires a debtor to be in default for

repossession to be proper. Plaintiffs were not in default at the time of the

repossess10n.




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       38.    Under Ark. Code Ann. § 4-9-507, Plaintiffs can recover as losses

incurred, and minimum statutory damages of the credit service charge plus ten

percent of the amount of debt or the time price differential plus ten percent of the

cash price.

                             COUNT II-CONVERSION
       39.    Plaintiffs incorporate all paragraphs herein.

       40.    Plaintiffs owned the Vehicle.

       41.    Defendants intentionally took and exercised dominion or control over

the Vehicle in violation of Plaintiffs' rights.

      42.     As a proximate cause of Defendants' conduct, Plaintiff has suffered

damages.

  COUNT III-VIOLATIONS OF THE ARKANSAS DECEPTIVE TRADE
                 PRACTICES ACT(" ADTPA ")
      43.     Plaintiffs incorporate all paragraphs herein.

      44.     The ADTPA is designed to protect consumers from deceptive, unfair,

and unconscionable trade practices. The ADTPA is a remedial statute, which is

liberally construed in favor of consumers.




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       45.   The Defendants' practices violate the following sections of the

ADTPA:

             a.     Advertising services with the intent not to sell them as
                    advertised. Ark. Code Ann.§ 4-88-107(a)(3).

             b.     Engaging in any unconscionable, false, and deceptive acts
                    or practices in business, commerce or trade, Ark. Code
                    Ann.§ 4-88-107(a)(10).

      46.    On information and belief, Defendants intended that Plaintiffs rely on

their representations and omissions, namely that Defendants would cancel-

through pretext-the VSC when presented with a covered repair.

      47.    The Defendants' conduct has caused Plaintiffs to suffer actual damages

or injury, including monetary loss, and to incur attorney's fees.

                               COUNT IV-FRAUD
      48.    Plaintiffs incorporate all paragraphs herein.

      49.    Defendants    induced     Plaintiffs   to   purchase   the   Vehicle   by

misrepresenting material facts and omission of material facts, by, among other

things, that the VSC would cover the costs of parts and labor covering the repair or

replacement of major component parts.

      50.    Defendants knew its omissions were material and important.

      51.    Defendants intended to deceive Plaintiffs and intended for him to rely

on their representations, which they did, to their detriment, suffering damages.


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      52.      Plaintiffs are entitled to damages in an amount to be proven at trial.

                         COUNT IV-PUNITIVE DAMAGES

      53.      Plaintiffs incorporate all paragraphs herein.

      54.      Defendants knew or ought to have known, considering the

circumstances, their conduct would naturally and probably result in damage, and it

continued such conduct with malice or in reckless disregard of the consequences

from which malice may be inferred.

      55.      Defendants intentionally pursued a course of conduct to cause

damages.

      56.      Based on Defendants' conduct, an award of punitive damages 1s

appropriate.

                                    JURYDEMAND

      57.      Plaintiffs demand a jury trial.

      WHEREFORE, the Court should enter judgment in favor of Plaintiffs and

against Defendants for:

      A.       Statutory damages;

      B.       Actual damages;

      C.       Attorney's fees, litigation expenses and costs of suit;

      D.       Pre-judgment and postjudgment interest; and



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     E.    Such other and further relief as the Court deems proper.

Date: June 27, 2018                 Respectfully submitted,


                                               der (Ark. Bar No. 2003138)
                                    Corey D. McGaha (Ark. Bar No. 2003047)
                                    CROWDER MCGAHA, LLP
                                    5507 Ranch Drive, Suite 202
                                    Little Rock, AR 72223-0043
                                    Phone: (501) 205-4026
                                    Fax: (501) 367-8208
                                    wcrowder@crowdermcgaha.com
                                    cmcgaha@crowdermcgaha.com

                                    Attorneysfor Plaintiffs




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Circuit Court of Faulkner County, Arkansas
PLAINTIFF's COMPLAINT
                            Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 14 of 51

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                                                             RETAIL INSTALLMENT CONTRACT
       ACCOUNT# 82629642
                                                                                                                           LOT# 7KJ
       Buyer Name and Address                                Buyer Name and Address                              l:redltor-Seller Name and Address
       KACI D MILLER                                         CHRISTOPHER R MILLER                                  I FRIENDS AUTO SALES LLC
       13 BUD CHUCK LN                                       13 BUD CHUCK LN                                      122-124 S. BROADVIEW
       CONWAY, AR 72032                                      CONWAY, AR 72032                                   < REENBRIER, AR 72058


      "You" and "Your" mean each Buyer above, j~intly and seve!'illlf.. •us· and ·we• mean Creditor-Seller ~nd Creditor-Seller's assignee. You may_buy
      the Vehlclf described below for cash or cre~,t. The cash pnce 1~ shown on Page 2 as the •cash Pric I!". The credit price is shown below as "Total
      ~ale Price . You have agre~d to buy the,Veh1cle from Us on credit for the Total Sale Price. You ackno~ edge delivery and acceptance of the Vehicle
      1n good condlUon and repair. You promise to pay Us all amounts due under this Retail Installment c~ntract ("Contract"} including the Total Sale
      Pnce, In accordance with th~ pa_Y,ment schedule shown in~ Truth in Lendin9 Disclosures below. You ialso agree to the terms and conditions below

        Used          2010 Chevrolet
                                               I. Silverado 1500 Crew Cab 4WC WHITE
                                                                                                Color     I                                  I
       includln I the Truth In Lending Disclosures) and on the additional pages of this Contract. The Annual Fiercentage Rate may be negotiable with us.
                          Year and Make                     Model and Body Style             I           Veh1c e Identification Numoer uaometer Reading
                                                                                                          3GC~KPE37AG195329               110,687

                                                     TRUTH IN LENDING DISCLOSURES
          ANNUAL                      FINANCE                        Amount                        Total of                      Total Sale Price
          PERCENTAGE                  CHARGE                         Financed                      Payments                      The total cost of Your
          RATE                        The dollar amount              The amount of credit          The amount Yeµ will           purchase on credit,
          The coat of Your            the credit will cost           provided to You or on         have paid after ti'ou         including Your
          credit aa a yearly          You.                           Your behalf.                  have made all I ayments       down payment of
          rate.                                                                                    as scheduled.                 $4,500.00              is
                           16.99 % $ 10,139.60
                                                                    $20,659.00                     $30,798.6)                    $35,298.60
          Payment Schedule: Your payment schedule will be:
               No. of Payments               Amount of Payments            When Payments Are Due

                   60                 $ 513 .31                                Monthly beginning                    April 03, 2016


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        Prepayment:
                         stl
                        If You pay off early, You may be entiUed to a refund of part of the Finance Charge.
         Addltlonal lnfonnation: Please read this Contract for any additional information about nonpaymE nt, default, any required repayment in
         full before the scheduled dale, and prepayment refunds and penalties.

      LIABILITY INSURANCE COVERAGE FOR BODILY INJURY AND PROPERTY DAMJl GES CAUSED TO OTHERS IS
      NOT INCLUDED.
  PROPERTY INSURANCE: You must Insure the Vehicle securing this Contract. YOU MAY PURC HASE OR PROVIDE THE
  INSURANCE THROUGH ANYONE YOU CHOOSE WHO IS REASONABLY ACCEPTABLE TO US. The collision coverage deductible
  may not exceed $500. ff you do not have this insurance, we may, at our option, buy property ir surance in accordance with the
  term• of this Contract.
   If you purchase Physical Damage Insurance from or through Us as part of this Contract, you authori2 e Us to add the cost of that insurance to
   the amount financed under this Contract.
      Buyer's Signature: x        - po NOT SIGN -                                Buyer's Signature: x           .. nn NOT ~11':::llol ..,.

      NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO A ~L CLAIMS AND DEFENSES
      WHICH THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVl~ES OBTAINED PURSUANT
      HERETO OR WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEE TOR SHALL NOT EXCEED
      AMOUNTS PAID BY THE DEBTOR HEREUNDER.
 USED CAR BUYERS GUIDE. THE INFORMATION YOU SEE ON THE WINDOW FORM FOR THIS I EHICLE IS PART OF THIS CONTRACT.
 INFORMATION ON THE WINDOW FORM OVERRIDES ANY CONTRARY PROVISIONS IN THE COi ITRACT OF SALE.
 Gu!~    Hara firag@dorrr 'ff Yfcb'cylo~
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 I Changes to this Contract. Any change in the tenns of this Contract must be in writing and slg~ed by Us.              No oral changes are binding.         J
>I Buyer's Signature: x      r·                       ·
                                         '."tau Z, 1ltatu.                   ,                          r        ~'it:?ltatu
                                                                                  Buyer's Signature: x..s...---+-;.__...;..                <::=i
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 AAKANSAS CREDIT ACCEPTANCE CORPORATION (05-1-4)
 ~ 2014    Credit Acceptance Corporation.
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                  . ·------ --- ------ ----- ----- ----- --·-- ··-·· ----- ----- -----                                                                             --- ---- ------ ---- ----
                                                                       ITEMIZATION OF AMOUNT FINANCED
    1. Cash Prfce (lnclucfmg accessories and Improvements to the Vehk:le) ....................................................................................... $                                        22,900. oo (1)
    2. SalesTax................................................................................................................................................................................... ,.. $         N/A(2)
    3. Down-PaymantCala.tlat!on:                         CashDownPayment...................................                                          $               500.00 (A)
        T~nDescriptlon:                                  GrossTrade-ln ............. $                     3,000.00 (B)
       Make: LINC
       Model: TOW                                        Payoff Made by Seller $                                     0. 00 (C)
       Net Trade-In (If negative number, Insert"()" In llne 3(0) and Itemize dilm181l0e in 5(F) below) (8-C) $                                                       000. 00 (D)
                                                                                        Total Down Payment ................................... ................... (A+ D) $                                 4,500.00 (::I)
    4. UnpaldBalanceofCashPrtce(1+21ess3) ..............................................................................................................................                             s     18,400.00(4)
    5. Other Charges lndud'mg Amounts Paid to Others on Your Behalf:
       *(NOTICE: A polfion of these charges may be paid to or retained by Us.)
       A *Cost of Required Phyalcal Damage Insurance Paid to Insurance Company ...................................                                                                        N/A (A)
       B. *Cost of Optional Extended Warranty or Service Contract Paid to the Company named below........                                                                    l, 619.00 (8)
       C. Cost of Fees Paid to Public Oflk::lals for Perfiectlng, Releasing or satisfying a Sea.atty Interest .... ..                                                                     N/A (C)
       D. Cost of Fees Paid to Public OfficlaJa for Certificate ofTdle, Uoense and Registration .....................                                                                10 .oo (0)
       E. SERVICE AND HANDLING FEE. A SERVICE AND HANDLING FEE IS NOT AN OFFICIAL
            FEE. A SERVICE AND HANDLING fEE IS NOT REQUIRED BY LAW BUT MAY BE
            CHARGED TO THE CUSTOMER FOR PERFORMING SERVICES AND HANDLING
            DOCUMENTS RELATING TO THE CLOSING OF A SALE OR LEASE. THE SERVICE
            AND HANDLING FEE MAY RESULT IN PROFIT TO THE DEALER. THE SERVICE
            AND HANDLING FEE DOES NOT INCWDE PAYMENT FOR THE PREPARATION OF
            LEGAL DOCUMENTS. THIS NOTICE IS REQUIRED BY LAW.                                                                                                                             N/A (E)
           Other Charges (Seller must Identify who wlll receM payment and describe purpose)
       F. to N/A                                                                  forllenorleasepayoff.................................................                              N/A (F)
       G. *to lfeatem Dhersined services,                              Inc.       forOptionalGAPProtectlon.......................................                                 630.00 (G)
       H. *to N/A                                                                 for N/A                                                                                            N/A (H)
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       K~m                                                                       form                                                                                                    moo
       Total of Other Charges and Amounts Paid to Others on Your Behalf......................................................... ................................ $ - - - ' - - - -
    6. Less Prepaid Rnance Charge ..................................................................................................................................................... $ - - - ~ -
    7. Amount Financed • Un _ Balltnce 4 + 5 lesa 8 ................................................................................... ................................ $
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ADDITIONAL TERIISANDCONDIT10N8:THEADDITIONAL TERMS AND CONDITIONS SET FORTH ONTH
ARE A PART OF THIS CONTRACT AND ARE INCORPORATED HEREIN BY REFERENCE.
NOTICE TO THE BUY.ER: Do not sign this Contract before You read ft or if it contains a                                                                                   blank spaces. You are entitled to
an exact copy of the Contract You sign.
You agree to the tenns of this Contract and acknowledge that You have received a copy of this
that You have read it and understand it
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,.Buyef's
 seller.
          Signature: x
          II PIUENDS AtJT0 SALBS LLC
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                                                                                                            __ /t._~_,_ea
                                                                                                                       ___-t-..___ Title: _ _ _A_G_ENT
                                                                                                                                                  _ _ __

This Contract is signed by the Seller and Buyer(s) hereto this                                    3rd             dayof        March                                                                          , 2016

~        CREDIT
           A _ACCEPTANCE
                 _..._,._CORPORATION (05-14)
r\'JIMA ~                _ _ _., __                                                                      PAGE2of4
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                                  that is returned by Your bank bicau8e of li1atlfflclent funds or because our-bank accot.int was closea, to the extent

 Ownership and Risk of Losa. You promise to.pay Us all You owe under this Contract even If the Vi                    Is damaged, destroyed or missing.
 Your Other Promleee to Us. YQ!JJ>f'.Wll&e that
    - You wnn,ot .reroove the Vehlcle fronithe Ullited States or Canada without our written        Ison.
    • You wlll_not sell, mnf,.lease or ~-11:atisfer. . .~ Interest In the Vehlcle or this Contract
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           You wlD. hot µs8-~-¥ehlcle jg·             •1.1U$1.-S without our written consent.
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Christopher Miller and Kaci Miller v. First Automotive Service Corporation, et al.
Circuit Court of Faulkner County, Arkansas
PLAINTIFF's COMPLAINT
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iensive. But with mechanical protection from Superior Protec-
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                                 EXiIBIT NO. 3
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           'VEHIC:bE SERijrcE CONTRACT




Christopher Miller and Kaci Miller v. First Automotive Service Cort,oration, et al
Circuit Court of Faulkner County, Arkansas
PLAINTIFF's COMPLAINT
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                                                                                                                               CONTRACT NO.: SP-
   CA Approval#                                           Toll Free Number: 1-866-410-6748
                                                          VEIDCLE SERVICE CONTRACT
               Purchase of the Service Contract is not required in order to purchase or obtain financing for a motor Vehicle
                    The words in boldface type (other than the headin&s in this Contract) are defined in the "Definitions" section.
CUSTOMER INFORMATION                                                                    SELLING DEALER
Name,Last                                            I Name, First                      Name

Address                                                                                 Address

City                                              State              Zip                City                           State                       Zip
Telephone                                                                               Telephone                  I   Dealer
                                                                                                                       Account No.
VEHICLE INFORMATION
Vehicle Identification Number (VIN)                                                     Current Odometer Reading                     NewU                 Used   •
                                                                                                                  Miles
Year           I   Make               I   Model              I   Class                  Contract
                                                                                        Price $
                                                                                                                                     Vehicle/ Contract
                                                                                                                                            Sale Date
Lien Holder - Credit Acceptance { CA)                                                   Tenn of Installment Contract                 Vehicle Purchase
              25505 West Twelve Mlle Road. Southfield. Ml 48034                                                                                Prfoe$
CONTRACT INFORMATION
                               If the eligible Vehicle bas less than or equal lo 100,000 miles on it, High Tech Coverage will apply. If the eligible Vehicle has between
Deductible: $100               100,001 and 175,000 miles on it, Standard Coverage will apply. lfno tenn information is filled in the term will be24 months or24,000
             Per Visit         miles, whichever occurs first

       Coverage Type:                             High Tech 0-100,000 Miles Only                                 Standard 100,001 to 175,000 Miles Only

  In order for this Contract to be valid, the following tenns must be clear, legible, without correction, and available for use on the Selling Dealer's
                                                              currently installed rate card.

                                                                           Months                                   Miles

  Coverage begins on the Vehicle/ Contract Sale Date and at the mileage shown on the odometer on that date and expires upon the addition of the
       number of months or miles soecified here, whichever occurs first. Note: This Contract must be ourchased on the Vehicle Sale Date.
                            SURCHARGES/OPTIONS                (check all that apply):                                      Extended Eligibility {Standard Coverage Only)
4X4 / All Wheel Drive                Turbocharger _ _             Supercharger _ _                One Ton - -             I 00,00 I - 125,000 Miles (Standanl Only) _ _
                          --
Diesel - -                         All Wheel Steering __                                                                  12S,OO I - I S0,000 Miles (Standard Only) _ _
11 Model Years•                    12 Model Years•                    13 Model Years•                                   150,001 -175,000 Miles (Standard Only-24/24
                                                                                                                       Max Tenn)
•Based on current calendar year.
Vehicles with more than I00,000 miles on the odometer on the Vehicle/ Contract Sale Date arc ineligible for High Tech coverage.

I have read and understand this Contract. I understand the above information is subject to verification and this Contract may be rejected if any of the above
information is incorrect or if the above Vehicle is ineligible for the term or coverage written as detennined by the Administrator Obligor in its sole discretion.


   CUSTOMER SIGNATURE                                             AUTHORIZED REPRESENTATIVE OF SELLING DEALER
  Date:                                                           Date:


ADMINISTRATOR OBLIGOR: First Automotive Service Corporation, 2400 Louisiana Blvd. NE, Building 4, Albuquerque., NM 87110, 1-
866-410-6748.
This Is a Contract between You and the Administrator Obligor. The Administrator Obllgor's performance under this Contract is insured by an
insurance policy issued by Dealers Assurance Company, P. 0. Box 21185, Upper Arlington, OH 43221, Telephone: 614-459-0364. Ifa Covered
Repair is not paid within sixty ( 60) days after proof of loss has been filed, You may file a claim with Dealers Assurance Company at the address
listed herein.




FORM AWA-XX-XX-05                                                                   P.1                                                                     REV02.15.12
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       WHAT TO DO IF YOU HAVE A BREAKDOWN:
            1.    Take Immediate action to prevent further damage to Your Vehicle.
            2.    Take Your Vehicle, or If unable to drive, have It towed to the nearest licensed repair facility.
            3.    Before beginning any repair work on Your Vehicle, call 1-866-410-6748.

      YOUR OBLIGATIONS
      In order for this Contract to remain in force, You must
            •      Change the oil and oil filter In the Vehicle at least every six (6) months or 5,000 miles whichever comes first, or at the intervals specified by the Vehicle
                   Manufacturer, whichever is less.
                   Replace the timing bell in the Vehicle at the intervals specified by the Vehicle Manufacturer
                   Perform al1 other maintenance and servicing of the Vehicle as recommended by the Vehicle Manufacturer
                   Keep, and make available lo the Administrator upon requast, verifiable signed receipts that show thet the above required maintenance and services were
                   timely performed.
      In order for a claim payment to be made under this Contract
                   You must have Your repair facility obtain an authorization number from the Administrator prior to beginning any repair to a Covered Part
                   You must pay the Deductible (if any) for all Covered Repairs performed In a single visit to a repair facility
            •      You are responsible for authorizing and paying for any teardown or diagnostic time needed to determine if Your Vehicle has a Covered Breakdown. If the
                   Administrator determines that there Is a Covered Breakdown, then We will pay for the reasonable cost of the teardown and diagnostic lime as part of the
                  Covered Repair.
                  You must send all repair documentation requested by the Administrator to the following address:

                                                   First Automotive Service Corporation, PO Box 30250, Albuquerque, NM 87190-0250

      To make a claim, call the Administrator toll-free at 1-866-410-6748. Claims Department hours are Monday through Friday, 7 a.m. to 7 p.m., Saturday 8 a.m. to 2 p.m.,
      Central Time. CLAIMS MUST BE SUBMITTED WITHIN SIXTY (60) DAYS FROM AUTHORIZATION TO QUALIFY FOR REIMBURSEMENT.

      EMERGENCY REPAIRS: If emergency repairs covered by this Contract are required outside the Selling Dealer's or Administrator's business hours. You should deliver
      Your Vehicle to a licensed repair facility and have the necessary repairs performed at a reasonable and customary charge. On the next business day, You should report
      the repairs to the Administrator. To report an emergency repair and oblain a reimbursement, please call the claims number below for instructions. Emergency repairs are
      only those repairs, which, if not performed, would render Your Vehicle Inoperable or unsafe to drive and impair its future operaUon.

      OUR OBLIGATIONS
      1. Covered Breakdowns /Deductible Appljes) If a Covered Part experiences a Breakdown during the term of this Contract, We will pay You or the repair facility, less
      the Deductible (if any), up to the Limits of Uability, for lhe repair or replacement, as lhe Administrator deems appropriate, of the Covered Part(s) that caused the
      Braakdown, but only if:
                You have met Your obllgaUons as described in this Contract; and
                The Breakdown is not one of the exduded Breakdowns listed under the heading "EXCLUSIONS-WHAT THIS CONTRACT DOES NOT COVER" below.

      This Contract refers to a Breakdown that is covered as a "Covered Breakdown.· Replacement parts can be of like kind and quality. They may include new, re-
      manufactured or used parts es determined by the Administrator. The use of non-original manufacturer's parts is permitted. Administrator reserves the right to inspect any
      Vehicle prior to authorization of a dalm.

      2. Additional Benefits CNo Deductible\
                  Rental Car. We will reimburse You for a rental car at a rate of up to $30.00 for every eight (8) hours of labor time required to complete a Covered Repair, up lo
                  a maximum of $150.00 per Covered Breakdown. If there is a verifiable delay in obtaining a part needed to complete a Covered Repair, We will ralmburse
                  You for a rental car for up to an additional two (2) days. Labor time required is determined from the national repair manual in use by the rapair facility. You must
                  provide the Administrator with a valid receipt from a licensed renlal agency to obtain reimbursement for a rental car.
                  Towing. We will reimburse You for towing if the Vehlele Is disabled due to a Covered Braakdown, up to a maximum of $50 per Covered Braekdown. You
                  must provide the Administrator with a valid receipt to obtain reimbursement for towing.

     COVERED PARTS
 Subject to the terms and conditions of this Contract, We will pay, or reimburse You, for the reasonable costs to repair or replace any or all of the following listed Covered
 Parts (for the coverage specified below that You have purchased) that fail as the result of a Covered Breakdown, subject to the exclusions listed in the 'EXCLUSIONS-
 WHAT THIS CONTRACT DOES NOT COVER' section below. For convenience, the Covered Parts are listed next to the Vehicle systems to which they relate. The Vehicle
 systems listed are not Covered Parts.

 STANDARD COVERAGE
1.       Engine - Engine Block and Cylinder Heads are covered when damaged due to a failure of an Internally Lubricated Part. All Internal Lubricated Parts, harmonic
        balancer, turbocharger, supercharger, timing gear, chain end bolt, head gasket, timing cover, timing belt, Intake and exhaust manifolds, valve covers, oil pan and engine
        mounts.
2.      Transmission - Transmission case and all internal Lubricated Parts, torque converter, transmission mounts, flex plate, and vacuum modulator.
3.      Drive Axle(s) - Drive axle housing and an internal Lubricated Parts, drive shafts, universal joints, and constant velocity joint unless faHure was caused by neglected,
        torn, cracked or perforated conslant velocity joint boot. See exdusion for constant velocity joint boots.
4.      Transfer Case - Transfer case and all internal Lubricated Parts.
5.      Steering - Steering gear box, or rack, and all internal Lubricated Parts, power steering pump, steering column shaft, and steering column shaft couplings, pitman arm,
        idler arm, tie rod end(s), and drag link.
6.      Electrical -Alternator, voltage regulator, starter motor & drive, and starter solenoid, Ignition module and windshield wiper motor(s).
7.      Air Conditioner - Condenser, compressor, compressor clutch & pulley, Idler puUey & Idler pulley bearing, evaporator, receiver dryer and orifice tube, and blower motor.
        (only if the air conditioner IS factory or dealer Installed equipment)
8.      Suspension -Radius arm, control arms, control arm shafts, bearings and bushings, king pin and king pin bushings, strut bar and bushings, stabilizer bar, stabilizer link,
        slabilizer bushing, spindle, wheel bearings, and torsion bars.
9.      Coollng -Water pump, engine cooling fan motor, radiator, radiator fan, and fan dutch.
10.     Fuel - Fuel delivery pump, fuel injectors, and fuel lank.
11.     Brake - Standard and ABS brake system master cylinder, ABS accumulator, ABS control module, ABS pump, ABS motor, ABS reservoir and ABS wheel speed
        sensors, power brake cylinder, vacuum assist booster, compensating valve, disc brake caliper(s), wheel cylinder(s), hydraulic lines and hydraulic line fittings.


High Tech Coverage                  (Included on all Vehicles with O - 100,000 MIies Only)
12.     High Tech Includes components fisted under Standard Coverage above plus: Power seat motor, power antenna motor, power window motor(s), power door lock
        actuator, fuel pressure regulator, sunroof motor, convertible top motor, driver Information gauge Indicators relating to the operation of the Vehicle (burned out lights/lamps are
        not covered), body control module, control dash power supply, auise control module and servollransducer, fuel sending unit, fuel gauge, metal fuel delivery lines, idle speed
        motor, manifold pressure sensor, manifold temperature sensor, throttle position sensor, mass air flow sensor, oxygen sensor, coolant temperature sensor, vehicle speed
        sensor, camshaft position sensor, crankshaft angle sensor, E.C.M., primary fuel Injection computer, and temperature control programmer.
13.     Seals and Gaskets - Leaking seals and gaskets on any Covered Part listed above, provided that the Vehicle had 100,000 miles or less on the Vehicle Sala Date.
        Minor loss of fluid or seepage is considered normal and not considered a Covered Breakdown.

                                           Note: Fluids are covered when required as part of the repair or replacement of a Covered Part.
 FORM AWA-XX-XX-05                                                                          P.2                                                                         REV 02.15.12
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  EXCLUSIONS -WHAT THIS CONTRACT DOES NOT COVER
 A. This Contract provides no benefits or coverage and We have no obligatlon under this Contract for:
    1. A Breakdown caused by lack of customary, proper or Vehicle Manufacturar's specified malntenanca.
    2. A Breakdown caused by contamination of or lack of proper fuels, fluids, coolants or lubricants, Including a Breakdown caused by a failure to replace seals or
        gaskets In a timely manner.
    3. A Breakdown caused by towing a trailer, another vehicle or any other object unless Your Vehicle is equipped for this use as recommended by the Vehicle
        Manufacturer.
    4. Repair of any parts In connection with a Covered Repair when those parts ara not necessary for the completion of the Coverad Repair or were not damaged
    by the failure of a Coverad Part. Such rapalr or replacement Is an improvement to Your Vehicle and Is not covered by this Contract.
    5. Pre-existing damage, or a Breakdown that occurred before Your purchase of this Contract, either of which would have been obvious and apparent If that
       component was inspected at time of purchase.
   6. A Breakdown caused by or Involving modifications or additions to Your Vehicle unless those modifications or additions were performed or recommended by
        the Vehicle Manufacturer.
   7. A Breakdown caused by off..-oadlng, misuse, abuse, racing or any form of competition.
   8. Any cost covered by a rapalr facility's or part supplier's guarantee, or any cost which would normally be covered by a Vehicle Manufacturer's warranty or a
       dealer warranty requlrad under state law, whether or not such warranty Is in force respecting Your Vehicle.
   9. Costs of other damages caused by the failure of a part listed In this Contract as an excluded part.
   10. Damage to the Vehicle caused by continued Vehicle operation after the Breakdown of a Covered Part.
   11. Any llablllty, cost or damages You incur or may incur to any third parties, other than for Covered Parts.
   12. A Breakdown caused by rust or corrosion.
   13. A Braakdown caused by collision, fire, electrical fire or meltdown, theft, fraezlng,
       vandalism, riot, explosion, lightning, earthquake, windstorm, hail, water, flood or acts of public enemy or any government authority, or for any hazard
       insurable under standard physical damage insurance policies whether or not such insurance Is In force respecting Your Vehicle.
   14. A Breakdown outside the continental United States or Canada.
   15. loss of use, loss of time, lost profits or savings, Inconvenience, commercial loss, or other incidental or consequential damage or loss that results from a
       Breakdown.
   16. liability for damage to property, or for injury to, or death of, any person arising out of the operation, maintenance or use of Your Vehicle whether or not
       related to a Braakdown.
   17. Any cost or other benefit for which the Vehicle Manufacturar has announced its responsibility through any means Including public recalls or factory service
   bulletins.
   18. Any part not covered, or excluded, by the original Vehicle Manufacturer's warranty.
   19. Loss of compression through gradual failure of rings and valves.
   20. Constant velocity joint boots.
   21. A gradual reduction in performance capability due to day-to-day routine operation.
   22. The maintenance services and parts described In paragraph 1 under "Your Obligations" or In the Vehicle Manufacturer's maintenance schedule for Your
       Vehicle.
  23. Other normal maintenance services and parts, Including, without limitation, engine tune-up, spark plugs, ignition wires, distributor cap and rotor,
       carburetor, EGR valve, batteries, filters, lubricants or fluids, air conditioning refrigerant or engine coolant (except when such lubricants, fluids, refrigerant or
       coolant must be raplaced as part of the repair or raplacement of a Coverad Part), all hoses and belts that are not specifically listed under "Covered Parts,"
       wiper blades, brake pads and shoes, brake rotors and drums, suspension alignment, tires, wheel balancing, shock absorbers, exhaust system, friction
       clutch disc and pressure plate, and clutch throw out bearing.
  24. Glass, glass framework and fastening adhesives, sealed beam head lamps, light bulbs, lenses, HID assemblies, Safety restraint systems (Including air
       bags), trim, moldings, bright metal, upholstery and carpeting, paint, sheet metal, body panels, structural framework and structural welds.
  25. After market accessories or non-original equipment, components and systems not installed by the Vehicle Manufacturer, Including, without limitation, anti-
      theft systems, radio/speaker equipment, telephones, cruise control and sunroof.
  26. GPS navigation systems and TVNideo/DVD/Entertalnment Systems.
  27. Damage to a Covered Part caused by a part that Is not a Covered Part.
  28. Repairs performed without Our prior authorization.
  29. To any parts or systems that ara considered alternative fuel or electric/hybrid vehicle related.

B. In addition, this Contract provides no benefits or coverage and We have no obligation under this Contract if:
   1. The Vehicle odometer fails, or for any reason does not record the actual mileage of Your Vehicle after purchase date and You do not have it repaired and the
      mileage certified within thirty (30) days of failura date.
   2. Your Vehicle Is used for business, deliveries, construction or commercial hauling, or as a postal vehicle, taxi, police car or other emergency vehicle.
   3. You rent Your Vehicle to someone else.
  4. Your Vehicle Is equipped with a snow plow or used to plow snow.
  5. You are using or have used Your Vehicle In a manner that is not recommended by the Vehicle Manufacturer.
  6. Your Vehicle Is modified from the Vehicle Manufacturer's original specifications.

CANCELLATION OF THIS CONTRACT
By You
If the Contract Price was financed You may cancel this Contract by contacting the Administrator. If the Contract Price was not financed You may cancel lhe Contract
by conlacting the Selling Dealer.
§.vJ.!§.
We reserve the right to cancel this Contract and will not pay for a Covered Breakdown if:
     The Vehicle odometer fails or for any reason does not record the actual mileage of Your Vehicle after purchase date, and You do not have it repaired and the mileage
     certified wilhin thirty (30) days of failure date.
     Your Vehicle is used for business, deliveries, conslruction or commercial hauling, or as a poslal vehicle, taxi, police car or other emergency vehicle.
     You rent Your Vehicle lo someone else.
     Your Vehicle is equipped with a snow plow or used lo plow snow.
     You are using or have used Your Vehicle in a manner that IS not recommended by lhe Vehicle Manufacturer.
     Your Vehicle is modified from the Vehicle Manufacturer's original specifications.
By the Lien Holder
You undersland and acknowledge that Iha lien Holder (if any) has the right to cancel this Contract if the Vehicle Is repossessed or destroyed or You are otherwise in
default of Your obligations to repay the amount financed by the Lien Holder.
Refunds and Charges
If Iha Contract price was financed You will be entitled to a full refund of the Contract Price, less a $50 cancellation fee, if You provide a written notice of cancellation to
the Administrator within the first thirty (30) days after the Contract Sale Date, and if You have not filed a claim under this Contract. If the Contract Price was not financed,
You will be entitled to a full refund of the Contract Price, less a $50 cancellation fee, if You provide a written nolice of cancellation to the Selling Dealer wilhin the first thirty
(30) days after the Contract Sale Date, and if You have not filed a daim under this Contract. If You provide a written notice of cancellation to lhe Administrator after the first
thirty (30) days after the Contract Sale Date, or if We or the lien Holder cancels this Contract al any time, You will be entitled to a prorated refund of lhe Contract Price
(less a $50.00 cancellation fee) based on the greater of the number of days lhe Contract was in force or the miles driven compared to lhe total time or Vehicle mileage
specified on the first page of this Contract under "Coverage Term." Your cancellation notice must be accompanied by a copy of an odometer disclosure slatement or
equivalent document verifying the current mileage of lhe Vehicle. The term of lhls Contract for cancellation purposes will be based on Iha date You purchased Your
Contract and the Vehicle mileage on the date purchased. if the Contract Price was financed, any and all refunds will be paid to the Wen Holder. Any and all refunds will be
paid to You by the Selling Dealer in the case that this Contract was not financed.


FORM AWA-XX-XX-05                                                                         P.3                                                                         REV02.15.12
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     DEFINITIONS
                 "Administrator Obligor and Administrator" means First Automotive Service Corporation.
                 "Breakdown· means the total failure of any Covered Part to work as it was designed to work in normal service.
                 "Contract· means this Contract. "Contract Price• means the price of this Contract as specified on the first page of this Contract
                 ·covered Breakdown· means a Breakdown that is covered by this Contract
                 ·covered Part' means an item listed as a Covered Part in the ·covered Parts• section.
                 •covered Repair" means a repair to a Covered Part approved by the Administrator.
                 "Deductible" means the deductible, if any, shown on the first page of this Contract.
                 "Installment Contract" means the agreement You sign with the Selling Dealer whereby You agree to buy the Vehicle Identified on the first page of the
                 Contract.
                "Lien Holder" means the entity {if any) to Whom the Selling Dealer assigned the Installment Contract as identified on the first page of the Contract
                "Limits of Liability" has the meaning given to such term in the ·other Important Contract Provisions/Limitations - Limits of Our Liability" section on this page.
                "Lubricated Part' means a part that requires lubrication to perform ~s function.
                "Selling Dealer" means the automobile dealer identified on the first page of this Contract.
                "Term of Installment Contract" means the period of time during which You will pay for the Vehicle.
                "Vehicle" means the Vehicle covered by this Contract, as Identified on the first page of !his Contract.
                "Vehicle Manufacturer" means the manufacturer of the Vehicle.
                "Vehicle / Contract Sale Date" means the date the Vehicle and this Contract were purchased.
                "Vehicle Purchase Price" means the price paid for the Vehicle excluding dealer prep, tax and additional products.
                ·we,· ·us· and "Our" refers lo the Administrator /Obligor shown on the first page of this Contract.
                "You," "Your," "Yours· and ·r refer to the customer identified on the first page of this Contract.


  OTHER IMPORTANT CONTRACT PROVISIONS/LIMITATIONS
  Limits of Our Liability
  THIS CONTRACT IS NOT AN INSURANCE POLICY. IT IS A SERVICE CONTRACT BE"IWEEN YOU AND THE ADMINISTRATOR
  The total benefits payable for a single Covered Repair or repair visit shall not exceed the Actual Cash Value (ACV) of !he covered Vehicle immediately preoeding the
  Covered Breakdown. The aggregate of all benefits payable shall not exceed the purchase price of !he covered Vehicle, excluding any and all fees or other optional products
  and or services. The Actual Cash Value {ACV) is determined by !he Average Trade-In value as indicated in the most current NADA Used Vehicle pricing guide.
  Our Rights Against Others
  If You receive any benefits under this Contract, We will be entitled to all Your rights of recovery against any manufacturer, repairer or other party who may be responsible to
  You for the costs covered by this Contract or for any other payment made by Us. If We ask, You agree to help Us enforce these rights. You also agree to cooperate and help
  Us in any other matter concerning this Contract.
  Entire Agreement
  This Contract contains the entire agreement between You and Us and supersedes any and an prior and contemporaneous agreements {both written and verbal) between
  You and Us concerning the subject matter of this Contract. This Contract is not valid unless signed by both You and an authorized representative of the Selling Dealer.

  When this Contract will End
             This Contract will terminate when:
             Your Vehicle reaches the time or mlleage !Imitation specified on the first page of this Contract
             You sell Your Vehicle unless this Contract is properly transferred as provided in the section of this Contract entitled "HOW COVERAGE MAY BE
             TRANSFERRED"
             This Contract is cancelled as outlined in the "CANCELLATION OF THIS CONTRACr seclion.

  HOW COVERAGE MAY BE TRANSFERRED
             If You sell Your Vehicle, You may transfer this Contract to the transferee, but only if:
             You are the first holder of this Contract
             Your Vehicle is sold to a private party
             The Administrator receives from You the completed transfer application (see below) within thirty {30) days after the date You sell Your Vehicle
             You pay the Administrator a $50.00 transfer fee
             You provide the transferee and Administrator with copies of all Vehicle maintenance and service receipts as required by this Contract (see "YOUR
             OBLIGATIONS").
  The transfer will be effective When You receive a transfer confirmation letter from the Administrator. If the purchase of Your Vehicle was financed and Your Vehicle is a
  total loss or is repossessed, Your rights and obligations under !his Contract immediately and automatically transfer to the Lien Holder


  TRANSFER APPLICATION
  To transfer this Contract, complete the form on the bottom of this page and mail it with copies of Your maintenance records and Your copy of this Contract to the
  Administrator at the following address:
                                              First Automotive Service Corporation, PO Box 30250, Albuquerque. NM 87190-0250
                                               Note: The Administrator may reject any application for transfer at their discretion.

Administrator Obllgor:
I, _ _ _ _ _ _ _ _ _ _ (transferor), am transfcning this Contract in accordance with the provisions stated in this Contract. J am enclosing a $50.00
check or money order payable to First Automotive Service Corp. I have provided to the new transferee, and Administrator Obligor, copies of all receipts
for the maintenance and servicing of the Vehicle as required by this Contract.

Name of Transferee _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                       Contract# _ _ _ _ _ __                  VIN# _ _ _ _ _ _ _ __

Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          City _ _ _ _ _ _ _ __                   State _ _ __         Zip _ _ _ __

Date of Transfer _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                     Odometer Mileage on Date of Transfer _ _ _ _ _ _ _ _ _ _ __

Signature of Transferee _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                           Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Signature of Transferor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  FORM AWA-XX-XX.OS                                                                     P.4                                                                      REV 02.15.12
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                                                                              STATE LAW DISCLOSURES
                                                                                       (Revised 03/01/09)
                                                                                        FASC-CUS02-4

  Some of the stales in which We are selling Vehicle Service Contracts require lhal We make certain additional disclosures lo You or require that some of the terms and conditions of this
             Contract be different from the standard terms and conditions specified above. These additional disclosures and different terms and conditions are set forth below.
                                                  They apply lo You if You purchased this Contract in one of the stales specified below:

 ALABAMA
 The paragraph under "Cancellation of this Contract-Refunds and Charges" is replaced in its entirety with the followilg: "You will be entiUed lo a full refund of 1he Contract price if
 You provide a written notice of cancellation to the Selling Dealer within the first thirty (30) days after the Contract purchase date, and if You have not filed a daim under this Contract. 1r
 You provide a written notice of cancellation lo the Selling Dealer after the first thirty (30) days after the Contract purchase date, or ff We or the Lien Holder cancels this Contract al any
 time, You will be entitled lo a prorated refund of the Contract price (less a cancellation fee up lo $25.00) based on the greater of the number of days the Contract was in force or the
 miles driven compared lo the total time or Vehicle mileage specified on the first page of this Contract under 'Coverage Term.' Your cancellation notice must be accompanied by a copy
 of an odometer disclosure statement or equivalent dorument verifying the rurrent mileage of the Vehicle. The term of this Contract for cancellation purposes wiU be based on the dale
 You purchased Your Contract and the Vehicle mileage on the date purchased. If the Contract price was financed, any and all refunds will be paid lo the Lien Holder. A ten percent
 (10%) penalty per month will be added lo any refund that is not paid or credited within forty-five (45) days after the Selling Dealer receives Your request for cancellation. If the Contract
 price was not financed, any and au refunds wiH be paid lo You by the Selling Dealer."
 ARIZONA
 The following paragraph is deleted in its entirety from the first page ·1 have read and understand this Contract. I understand the above information is subject to verification and this
 Contract may be rejected if any of the above information Is incorrect or if the above Vehicle is ineligible for the term or coverage written as determned by the Administrator Obligor in
 its sole discretion·.
Under "Exclusions - What this Contract does not Cover": Item A.5 is deleted. Items A.23 through A.26 are amended as follows:
A23. Other normal maintenance services and parts, including, without limitation, ENGINE TUNE-UP, SPARK PLUGS, IGNITION WIRES, DISTRIBUTOR CAP AND ROTOR,
CARBURETOR, EGR VALVE, BAITTRIES, FILTERS, LUBRICANTS OR FLUIDS, AIR CONDITIONING REFRIGERANT OR ENGINE COOLANT (except when such lubricants, fluids,
refrigerant or coolant must be replaced as part of the repair or replacement of a Covered Part), ALL HOSES AND BELTS THAT ARE NOT SPECIFICALLY LISTED UNDER
"COVERED PARTS," WIPER BLADES, BRAKE PADS AND SHOES, BRAKE ROTORS AND DRUMS, SUSPENSION ALIGNMENT, TIRES, WHEEL BALANCING, SHOCK
ABSORBERS, EXHAUST SYSTEM, FRICTION CLUTCH DISC AND PRESSURE PLATE, AND CLUTCH THROW OUT BEARING.
A.24. GLASS, GLASS FRAMEWORK AND FASTENING ADHESIVES, SEALED BEAM HEAD LAMPS, LIGHT BULBS, LENSES, HID ASSEMBLIES, SAFETY RESTRAINT
SYSTEMS (INCLUDING AIR BAGSI, TRIM, MOLDINGS, BRIGHT METAL, UPHOLSTERY AND CARPETING, PAINT, SHEET METAL, BODY PANELS, STRUCTURAL
FRAMEWORK AND STRUCTURAL WELDS.
A25. After market accessories or non-original equipment, components and systems not installed by the Vehicle Manufacturer, induding, without limitation, ANTI-THEFT SYSTEMS,
RADIO/SPEAKER EQUIPMENT, TELEPHONES, CRUISE CONTROL AND SUNROOF.
A26. GPS NAVIGATION SYSTEMS AND TVMDEOIDVD/ENTERTAINMENT SYSTEMS.
ARKANSAS
1. The following sentence is added at the top of the first page of this Contract: "Purchase of this Contract is not required in order to purchase or obtain financing for a motor vehicle."
2. The paragraph at the bottom of the first page of this Contract is replaced with the following paragraph: "THIS SERVICE CONTRACT IS INSURED FOR ITS LIABILITY UNDER A
   SERVICE CONTRACT REIMBURSEMENT INSURANCE POLICY ISSUED BY DEALERS ASSURANCE COMPANY. IF WE DO NOT SffiLE YOUR CLAIM(S), AS
   ADMINISTRATOR WITHIN SIXTY (60) DAYS OF OUR RECEIPT OF YOUR PROOF OF LOSS, YOU MAY MAKE A CLAIM DIRECTLY AGAINST: Dealers Assurance Company, PO
   Box 21185, Upper Mnglon, OH 43221The toll free number is 1-614-459--0367.
 CONNECTICUT
Arbitration and Resolution of Disputes for Connecticut Residents: If there is a dispute regarding the terms of this Service Contract or the coverage of any claim filed with Us, We
will make a reasonable effort to resolve the dispute with You. If We are unable to resolve the dispute, You may file a formal wrilten complain! with the Consumer Affairs Division of the
Connecticut Insurance Departmenl The complaint must contain a short and plain description of the dispute, including the efforts made to resolve the dispute and the results of those
efforts, the purchase price or lease price of Your Covered Vehicle, the cost of any disputed repairs, and a copy of this Service Contract document. The complaint should be mailed to
State of Connectirut, Insurance Department, P.O. Box 816, Hartford, CT 06142--0816, Attention: Consumer Affairs.
Your complaint will be reviewed by an examiner, who will attempt lo mediate the dispute. ~ the mediation efforts are unsuccessful, Your complaint will be referred to the Arbitration Unit
of the Connecticut Insurance Department for further resolution through arbitration. Unless either party objects lo binding arbitration of the dispute by filing a written objection with the
examiner within ten (10) days after notice thal the matter has been referred to arbitration, the decision of the arbitrator wiU be bindi'lg on both parties. A more detailed description of the
arbitration procedure is set forth in Sections 42-260-1 through 42-260-5 of the Connecticut Administrative Code.
You have a right to cancel this Service Contract if You return the Vehicle; the Vehicle Is sold, lost, stolen or destroyed. If this Service Contract is for less than one year of coverage,
this Contract win be extended while Your Vehicle is being repaired. This Service Contract does not include in-home service. The costs of transporting the Vehicle will not be paid for
by the Administrator.
GEORGIA
1. Unless otherwise specified on the first page of this Contract, You paid tiY this Contract in cash. If You financed the Contract price, the terms of the financing are contained in the
    Service Contract entered into between You and the Selling Dealer.
2. The section entiUed ·cancellation of this Contract- Refunds and Charges• is replaced in its entirety with the following: "You will be entiUed lo a full refund of the Contract price if
   You provide a written notice of cancellation lo the Selling Dealer within the first thirty (30) days after the Contract purchase date. If You provide a written notice of cancellation to the
    Selling Dealer after the first thirty (30) days after the Contract purchase dale You will be entitled lo a prorated refund of the Contract Price based on the greater of the number of
   days the Contract was in force or the miles driven compared to the total time or Vehicle mileage specified on the first page of this Contract under 'Coverage Term.' Your cancellation
   notice must be accompanied by a copy of an odometer disclosure statement or equivalent document verifying the current mileage of the Vehicle. The term of this Contract for
   cancellation purposes will be based on the dale You purchased Your Vehicle and the Vehicle mileage on the date purchased. If the Contract Price was financed, any and all refunds
   wiU be paid lo the Lien Holder. If the Contract Price was not financed, any and an refunds will be paid to You by the Selling Dealer."
3. The section enlilled 'Cancellation of this Contract- By Us" is replaced with the following: -We reserve the right to cancel this Contract and will not pay for a Covered Breakdown if
   (i) We discover fraud or material misrepresentation in connection with Your obtaining this Contract or a cla\m made under this Contract, or (ii) the Lien Holder advises Us that You
   have defaulted in Your obligation lo repay the amount financed by the Lien Holder. In general, if We cancel this Contract, We will mail to You written notice of cancellation at least
   thirty (30) days before the cancellation date. However, if We cancel this Contract for any reason other lhan nofli)ayment, You will receive written notice of cancellation at least thirty
   (30) days before the cancellation date and Your refund of the unearned consideration will be 100% pro-rata with no cancellation/administrative fee or claims paid deducted from any
   refund. However, ff We cancel this Contract because You have defaulted in Your obligation to repay the amount financed by the Lien Holder, We wil mail to You written notice of
   cancellation at least ten (10) days before the cancellation date."
4. No cancellation/administrative fee or daims paid will be deducted from any cancellation.
5. Misrepresentation of the odometer reading at the time of effective coverage may result in denial of coverage under this Service Contract.
6. Exclusion A.6 is amended to read: "A Breakdown caused by or involving modifications or additions lo Your Vehicle made by You or with Your knowiedge, and those modifications or
   additions were performed or recommended by the Vehicle Manufacturer."
7. Exdusion B.6 is amended to read: 'Your Vehicle is modified by You or with Your knowledge from the Vehicle Manufacturer's ~inal specifications."
8. At the sole discretion of the Administrator, a replacement of any part may be made with new parts, remanufactured parts or with parts of like kind and quality at the time of the
   breakdown.

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 9. Within the "Cancellation of this Contract - By The Lien Holder" section of lhis Contract, the following sentence(s) is added: "The Lien Hokier must hold a power of attorney in order
    to cancel this Contract due to Your default in Your obligations lo such Lien Holder."
 JIW!Q
 1. The following sentence is added al the top of the first page of this Contract: "Purchase of this Contract is not required ei11ler to purchase or to obtain financing for a motor vehide.•
 2. The paragraph al the bottom of the first page of this Contract is replaced with the foUowing paragraph: "THIS SERVICE CONTRACT IS INSURED FOR ITS LIABILITY UNDER A
    SERVICE CONTRACT REIMBURSEMENT INSURANCE POLICY ISSUED BY DEALERS ASSURANCE COMPANY. IF WE DO NOT SETTLE YOUR CLAIM(S), AS
    ADMINISTRATOR WITHIN SIXTY (60) DAYS OF OUR RECEIPT OF YOUR PROOF OF LOSS, YOU MAY MAKE A CLAIM DIRECTLY AGAINST: Dealers Assurance Company, PO
    Box 21185, Upper Ar1ing1on, OH 43221. The ton free number is 1-800-282-8913.
 3. Coverage afforded under this Contract is not guaranteed by the Idaho Insurance Guarantee Association.
 4. The following language is added al the end of paragraph 2 under "Your Obligations:"
    'If a Covered Part has a Covered Breakdown al any time outside of Claims Department regular business hours, You may take one of the following steps: (1) Wail until regular
    business hours and then follow the normal daims procedure oullined above; or (2) Authorize and pay for any leardown or diagnostic time needed to determine whether Your Vehicle
    has a Covered Breakdown. If You reasonably determine thal You have a Covered Breakdown and You choose to have Your Vehicle repaired, You are responsible for paying for
    the repair. You must then caU the Administrator during the next available regular business hours so that lhe Administrator may determine whether there was a Covered
    Breakdown. If the Administrator determines that there was a Covered Breakdown, then We wiU pay You in accordance with the terms and conditions of this Contract."
ILUNOIS
1. The Administrator Obligor is Fust Automotive Service Corporation, a New Mexico Corporation, located al 2400 Louisiana Blvd. NE, Albuquerque, NM 87110, 1~333.
2. The section entitled "Cancellation of this Contract- By You• Is replaced with the following: "You may cancel this Contract by contacting Us through the Selling Dealer.•
3. The section entitled "Cancellation of this Contract - Refunds and Charges" Is replaced in its entirety with the foUowing: •you wil be entitled to a run refund of the Contract Price if You
   provide a written notice of cancellation to the Selling Dealer within the first thirty (30) days after the Contract purchase date, and if You have not filed a daim under llis Contract. If
   You provide a written notice of cancellation to the Selling Dealer after the first thirty (30) days of the Contract purchase date, or if We or the Lien Holder cancels lhis Contract at any
   time, You will be entitled to a prorated refund of the Contract price based on the greater of the nurmerof days the Contract was In force orlhe miles driven co..,.iared to the total lime
   or Vehicle mileage specified on the first page of this Contract under 'Coverage Term,' less a cancellation fee equal lo the lesser of $50.00 or ten percent (10%) of the amount of the
   prorated refund." Your cancellation notice must be acc:ompanled by a copy of an odometer disclosure statement or equivalent doalmenl verifying the cunent mileage of the Vehicle.
4. Under 'Exclusions-What this Contract does not Cover," Item A.21 is replaced with the foUowing: '21. A gradual reduction in operating performance due lo normal wear and tear."
lQWA
1. Unless otherwise specified on the first page of lhis Contract, You paid for this Contract in cash. If You financed the Contract price, the terms of the financing are contained in lhe
   Service Contract entered Into between You and the Selling Dealer.
2. For Iowa Residents only: If You have problems or questions about this Contract, You may contact lhe Commissioner of Insurance of the Stale of Iowa or the Iowa Securities Bureau
   al (515) 281-4441. The address is: Iowa Securities Bureau, 340 East Maple Street, Des Moines, Iowa 50319~6.
3. The •cancellation of this Contract- Refunds and Charges" section of this Contract is amended as foUows: If this Contract is originally delivered to You by maB, You may cancel
   this Contract within 20 days after the dale the Contract was mailed to You and receive a ful refund of the Contract price provided no dai'n has been made under the Contract. If
   this Contract was delivered to You at the time of sale, You may cancel this Contract within 10 days after the date of the Contract and receive a full refund of the Contract price
   provided no daim has been made under the Contract. If a full refund is due to You under this Contract, a 10% penally per monlh will be added to the refund ifil is not made within 30
   days of relum of the Contract to Us.
4. The third paragraph under "Our Obligations-Covered Breakdowns (Deductible Applies)" is replaced in its entirely by lhe following: "Replacement parts can be of tike kind and
quality and may indude new, remanufactured or used parts as determined by the Administrator, except lhat (i) used parts may only be used with Your prior written authorization to do
so, and (u) rebuilt parts may only be used if the parts are rebuilt according to national standards recognized by the insurance <fivision (Commissioner of Insurance of the Slate of
Iowa/Iowa Securities Bureau)."
MASSACHUSETTS
NOTICE TO CUSTOMER: PURCHASE OF THIS CONTRACT IS NOT REQUIRED IN ORDER TO REGISTER OR FINANCE A VEHICLE. THE BENEFITS PROVIDED MAY
DUPLICATE EXPRESS MANUFACTURER'S OR SELLER'S WARRANTIES THAT COME AUTOMATICALLY WITH EVERY SALE. THE SELLER OF THIS COVERAGE IS REQUIRED
TO INFORM YOU OF ANY WARRANTIES AVAILABLE TO YOU WITHOUT THIS CONTRACT.
Chapter 90, Section 7N1/4 of Massachusetts General Laws requires an automobile dealer to provide a wananty covering certain dasses of used motor vehides as follows:
• Used vehides with less than 40,000 miles at the lime of sale are covered fer 90 days or 3,750 miles, whichever comes first
• Used vehicles with 40,000 miles or more, but less than 80,000 miles, at the time of sale are covered for 60 days or 2,500 miles, whichever comes first
• Used vehicles with 80,000 miles or more, but less lhan 125,000 mBes, al lhe time of sate are covered for 30 days or 1,250 miles, whichever comes first
The Vehlcle You have purchased may be covered by this law. If so, the following is added to this Contract: In addition to the dealer warranty required by this law, You have elected to
purchase this Contract, which may provide You with additional protection during the dealer warranty period and provides protection after the dealer warranty has expired. You have been
charged separately only for this Contract. The required dealer wananty is provided free of charge. Furthermore, the definition, coverage, and exduslons staled in lhls Contract apply
only to this Contract and are not the terms of the required dealer warranty.
MINNESOTA
1. Paragraph 1 under "Your Obligations· is replaced with the following: "In order for this Contract to remain in force, You must:
    •     Change the oil and oH filler in lhe Vehicle al least every six (6) months or 5,000 miles, whichever comes first;
   •      Replace the timing bell in the Vehlcle al least every 90,000 miles;
    •     Keep and make available to the Administrator upon reques~ verifiable signed rece'1ts that show that the above required maintenance and servicing was timely performed."
2. Under 'Exclusions - What this Contract does not Cover":
   a.     Hem A.1 is replaced with the following: ·1. A Breakdown caused by tack of customary or proper maintenance.•
   b.     Hem A.5 is replaced with the following: "5. Fraud, material misrepresentation or material omission made by You in pursuing a daim under lhis Contract."
   c.     Item A.12, A.22 and A.27 are deleted in their entirety.
   d.     llem A.17 is replaced with the following: "17. Any cosl or other benefit that the Vehicle manufacturer will pay as a result of a public recall or factory service bulletin.
   e.     Item B.5 is deleted.
3. There is no exdusion for pre-existing conditions. normal wear and tear or repails caused to a covered part by a non-rovered part or by "consequential" damage lrom a non-rovered
   parL Exduslon of coverage for odometer tampering in any form applies only if tt occurs and You fail to repair while the Vehicle is owned by You. There is no exduslon for repairs or
   replacements of motor Vehicle components which were not operating properly in accordance with manufadurer's specffications al the time of sale of this Service Contract or if the
   manulacturer has 'branded" the title (cancelled the faclory warranty).
4. As required by Section 325F. 662 of the Minnesota Slalules, the Selling Dealer is providing to You the coverage rlSled below al no charge if the Vehicle has less lhan 75,000 miles at
   the time You purchased the Vehicle or if the purchase price of the Vehicle is $3,000 or more 0nduding the trade-in value of any Vehicle traded in by You, but exduding tax, license
   fees, registration fees, and finance charges) or if the Vehicle does not faU within any of the other exclusions listed under Subdivision 3 of Section 325F.662 of the Minnesota Stalules.
   The term of such coverage is based upon the mileage of the Vehicle al the lime of purchase and is as follows:
   a.     Used Vehicles with less than 36,000 miles are covered for 60 days or 2,500 miles, whichever comes first.
   b.     Used Vehlcles with 36,000 miles or more, but less lhan 75,000 miles, are covered for 30 days or 1,000 miles, whichever comes first
The following par1s are covered by the Selling Dealer"s Hmiled warranty:
1.    Engine: All lubricated par1s, intake manifolds, engine block, cylinder head, rotary engine housings;
2.    Transmission: Automatic transmission case, internal parts, and the torque converter; or the manual transmission case and the internal par1s;
3. Drive Axle: Axle housings and internal parts, axle shafts, drive shafts output shafts, and universal joints; the secondary drive axle on vehides other than passenger vans is exduded
      for coverage;

FORM AWA-XX-XX-05                                                                            P.6                                                                           REV 02.15.12
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 4.     Brakes: Masler cylinder, vacuum assist booster, wheel cylinders, hydraulic lines and fillings, and disc brakes calipers;
 5.     Steering: Steering gear housing and all inlemal parts, power steering pump, valve body, and piston;
 6.     Waler pump;
 7.     Externally-mounted mechanical fuel pump.
  In addition, the folbwing parts are covered if the Vehicle has less than 36,000 miles: Steemg rack, radiator, alternator, generator, and starter. The above coverage is excluded from this
 Contract during the applicable warranty period unless the Selling Dealer is unable to meet its obligations. Your rights and obligations regarding this coverage are more fully explained in
 the used Vehicle Service Contract document provided to You by the Selling Dealer.
 MISSISSIPPI
 1. Unless otherwise specified on the first page of this Contract, You paid for this Contract in cash. If You financed the Contract Price, the terms of financing are contained in the
    Service Contract entered into between You and the Selling Dealer.
 2. The following language is added at the end of paragraph 2 under "Your Obligations": ·If a Covered Part has a Covered Breakdown at any time outside of Claims Department regular
    business hours, You may take one of the following sleps:
    •      Wait until regular business hours and then follow the normal claims procedure outlined above; or
     •     Authorize and pay for any leardown or diagnostic time needed to delermine whether Your Vehicle has a Covered Breakdown. If You reasonably determine that You have a
           Covered Breakdown and You choose to have Your Vehicle repaired, You are responsible for paying for the repair. You must then call the Administrator during the next
           available regular business hours so that the Administrator may determine whether there was a Covered Breakdown. If the Administrator determines that there was a
           Covered Breakdown, then We will pay You in accordance with the terms and conditions of this Contract."
 MISSOURI
 The cancellation section of this Contract is amended to include the following: If this Contract is originally delivered to You by mail, You may cancel this Contract withil twenty (20) days
 after the date the Contract was mailed to You or within len (10) days if the Contract is delivered at the time of sale and receive a full refund of the Contract price provided no claim has
 been made under the Contract. If a full refund is due to You under this Contract, a ten (10%) penalty per month will be added to the refund if it is not made within thirty (30) days of
 return of the Contract to Us. A written notice will be mailed to the Contract Holder within fifteen days (15) of the dale of cancellation by the Contract Holder. This Contract is non-
 renewable. The "What To Do If You Have A Breakdown" provision is amended by adding the following: In the event of an emergency situation essential to public health, safety or
 welfare and lhe Administrator cannot be reached, proceed with repairs. But, payment wiU be made in accordance with the Contract and as soon as reasonably possible, You should
 report the repairs to the Administrator.
 MONTANA
 The section entitled 'Arbitration" is deleted. If We cancel this Contract, We will mai written notice to You within at least five (5) days prior to the cancellation. Prior notice is not required
 for cancellation of nonpayment of the provider fee, a material misrepresentation by You to Us, or subslantial breach of duties by You relating to the covered product or its use.
 NEVADA
 1. The following language is added to the section entitled ·cancellation of this Contract- By us·:
     "Notwithstanding the foregoing, if this Contract has been in effect for at least seventy (70) days, We will not be entitled to cancel it before the expiration of the lerm of this Contract or
     for one (1) year after the Sale Date of this Contract, whichever occurs first, except on any of the following grounds:
     (a) Failure by You to pay an amount when due; (b) Conviction of You of a crime that results in an ilcrease in the service required under this Contract; (c) Discovery of fraud or
     malerial misrepresentation by You in obtaining this Contract, or in presenting a claim for service under this Contract; (d) Discovery of: (1) An act or omission by You; or (2) A
     violation by You of any condition of this Contract, which occurred after the Sale Date of this Contract and which substantially and malerially increases the service required under this
     Contract; or (e) A material change in the nature or extent of the required service or repair that occurs after the Sale Date of this Contract and that causes the required service or
     repair to be substantially and materially increased beyond that contemplated at the time that this Contract was issued or sold. If We cancel this Contract, We will mail to You written
     notice of cancellation (stating the date of and reason for the cancellation) at least fifteen (15) days before the cancellation date."
2. The paragraph under "Cancellation of this Contract-Refunds and Charges" is replaced in its entirety with the following:
     ·You will be entitled to a full refund of the Contract Price if You provide a written notice of cancellation to lhe Selling Dealer within the first thirty (30) days after the Contract
     purchase date, if You have not filed a claim under this Contract. If You provide a written notice of cancellation to the Selling Dealer after the first thirty (30) days after the Contract
    Sale Date, or if We or the Lien Holder cancels this Contract at any time, You will be entitled to a prorated refund of the Contract price (less a $50.00 cancellation fee, unless We
    cancel this Contract, in which case no fee will be deducted) based on the greater of the number of days the Contract was in force or the miles driven compared lo the total time or
    mileage specified on the first page of this Contract under 'Coverage Term.' Your cancellation notice must be accompanied by a copy of an odometer disclosure statement or
    equivalent document verifying the current mileage of the Vehicle. The term of this Contract for cancellation purposes will be based on the date You purchased Your Contract and the
    Vehicle mileage on the dale purchased. If the Contract price was financed, any and all refunds wiR be paid to the Lien Holder. If the Contract price was not fmanced, any and all
    refunds will be paid to You by the Selling Dealer. In that case, We will provide You with a refund within forty-five {45) days after the Selling Dealer receives Your written notice of
    cancellation, and if We fail to do so within that time, We will pay You a penalty of 10 percent of the Contract price for each thirty (30) day period or portion of thereof that the refund
    and any accrued penalties remain unpaid."
3. The following language is added to the end of the last sentence of paragraph 1 under "Our Obligations·:
    •. and may include parts that are not made for or by the original manufacturer of the Vehicle.•
    This Contract is not renewable.
4. The following language is deleled from "EXCLUSIONS-WHAT THIS CONTRACT DOES NOT COVER": "B. In addition, this Contract provides no benefits or coverage and We have
    no obligation under this Contract if: 5. You are using or have used Your Vehicle in a manner that is not recommended by the Vehicle Manufacturer.; 6. Your Vehicle is modified from
    the Vehicle Manufacture(s original specifications."
5. The following language is added to this Contract "This Contract wiH not cover any unauthorized or non-manufacturer-recommended modifications to Your Vehicle, or any damages
    arising from such unauthorized or non-manufacturer-recommended modifications. However, if Your Vehicle is modified in a manner that is not recommended by lhe manufacturer of
    Your Vehicle, the Obligor will not automatically suspend all coverage. Rather, this Contract will continue to provide any applicable coverage that is not relaled to the unauthorized or
    non-manufacturer-recommended modification or any damages arising therefrom, unless such coverage is otherwise excluded by the lerms of this Contract."
NEWYORK
A ten (10%) percent penalty per month shall be added to a refund that is not made within thirty days (30) of return of the Contract to the Administrator. We will mail a written notice with
the reason for cancellation to You at least fifteen (15) days prior to the cancellation by Us. Written notice is not required if the reason for cancellation is nonpayment of the cost of this
Conlract, a malerial misrepresentation, or a substantial breach of duties by You relating to the covered property or ifs use.
NORTH CAROLINA
1. There shaU be added to the first page of this Contract in the signature box just above the signature line the following: "THE PURCHASE OF THIS CONTRACT IS NOT REQUIRED
    EITHER TO PURCHASE OR TO OBTAIN FINANCING FOR A MOTOR VEHICLE."
2. The section entitied "Cancellation of this Contract-Refunds and Charges· is replaced in its entirety with the following:
  -You will be entitled to a full refund of the Contract price if You provide a written notice of cancellation to the Selling Dealer within the first thirty (30) days after the Contract purchase
  dale, and if You have not filed a claim under this Contract. If You provide a written notice of cancellation to the Selling Dealer after the thirty (30) days after the Contract purchase
 date, or if We or the Lien Holder cancels this Contract at any time, You will be entitled to a prorated refund of the Contract price (less a cancellation fee equal to the lesser of S50.00
 or ten percent (10%) of the amount of the proraled refund) based on the greater of the number of days the Contract was in force or the miles driven compared to the total time or
 Vehicle mileage specified on the first page of this Contract under 'Coverage Term.' Your cancellation notice must be accompanied by a copy of an odometer disclosure statement or
 equivalent document verifying the current mileage of the Vehicle. The term of this Contract for cancellation purposes will be based on the date You purchased Your Vehicle and the
  Vehicle mileage on the dale purchased. If the Contract price was financed, any and all refunds will be paid to the Lien Holder. If the Contract price was not financed, any and all
 refunds wiU be paid to You by the Selling Dealer."
OKLAHOMA
1. The section entitled 'Cancellation of this Contract - Refunds and Charges· is replaced in its entirety with the folbwing:
FORM AWA-XX-XX-05                                                                               P.7                                                                             REV 02.15.12
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     "You will be entiUed to a full refund of the Contract price if You provide a written notice of cancellation to the Selling Dealer within the first thirty (30) days after the Contract purchase
     dale. If You provide a written notice of cancellation to the Selling Dealer after the first thirty (30) days after the Contract purchase date, Your refund will be based upon ninety percent
     (90%) of the unearned pro rata premium. If lhe Contract price was financed, any and all refunds wiD be paid to lhe Lien Holder. If the Contract Priu was not financed, any and all
     refunds win be paid to You by the Selling Dealer."
 2. In lhe event lhe Contract is canceled by Us, refund will be based upon one hundred percent (100%) of unearned pro rata premium.
 3. The section enlilled "Arbitration" is deleted.
 4. The following disdosure statement Is added to the first page of this Contract: "THIS SERVICE CONTRACT IS NOT ISSUED BY THE MANUFACTURER OR WHOLESALE
 COMPANY MARKETING THE PRODUCT. THIS CONTRACT WILL NOT BE HONORED BY SUCH MANUFACTURER OR WHOLESALE COMPANY."

 OREGON
 The following language Is added at the end of paragraph 2 under "Your Obligations:·
    c. "If a Covered Part has a Covered Breakdown at any time outside of Claims Department regular business hours, You may lake ooe of the following steps:
 • Wait until regular business hours and then follow lhe nonnal claims procedure ouUlned above; or
 • Authorize and pay for any teardown or diagnostic time needed lo detennine whether Your Vehicle has a Covered Breakdown. If You reasonably detennlne that You have a Covered
   Breakdown and You choose to have Your Vehicle repaired, You are responsible for paying for the repair. You must then call the Administrator during the next available regular
  business hours so that the Administrator may delennine whether there was a Covered Breakdown. If the Administrator delennines that there was a Covered Breakdown, then We
  will pay You In accordance with the tenns and conditions of this Contract."
 SOUTH CAROLINA
 1. Unless otherwise specified on the first page of this Contract, You paid for this Contract in cash. If You financed the Contract Price, the tenns of financing are contained in the
    Installment Contract entered into between You and the Selling Dealer.
 2. Any unresolved complaints or questions about this Contract may be addressed to: South Garolina Department of Insurance, P.0. Box 100105, Columbia, SC 29202-3105, (803) 737•
    6134
 3. The section en@ed "Cancetlatton of this Contract-Refunds and Charges" is replaced in its entirety with the following: "You will be enlitled to a full refund of the Contract price if
   You provide a written notice of cancellation to the Selling Dealer within the first thirty (30) days after the Contract purchase date, and if You have not filed a daim under this
   Contract. In that case, We wiU provide You with a refund within 45 days after lhe Semng Dealer receives Your written notice of cancellation, and if we fail to do so within lhat time,
   We will pay You a penalty of 10 percent of the Contract price for each month that the refund remains unpaid. ff You provide a written notice of cancellation to the Selling Dealer after
   the first thirty (30) days after lhe Contract purchase date, or if We or the Lien Holder cancels this Contract at any time, You will be en@ed to a prorated refund of the Contract Price
   based on the greater of the number of days the Contract was in force or the miles driven compared to the total time or Vehicle mileage specified on the first page of this Contract
   under 'Coverage Tenn.' Your canceUation notice must be accompanied by a copy of an odometer disdosure statement or equivalent document verifying the current mileage of the
   Vehicle. The tenn of this Contract for canceHation purposes will be based on the dale You purchased Your Contract and the Vehicle mileage on the date purchased. If the Contract
   Price was financed, any and all refunds will be paid to the Lien Holder. If the Contract price was not financed, any and all refunds will be paid to You by the Selling Dealer.'
4. The following paragraph Is added to the section entiHed "Cancellatton of this Contract-By us·:
   "If We cancel this Contract, We will mail a written notice to You at Your last known address contained in Our records at least fifteen (15) days prior to cancellation. The notice will
   state the effective date of cancellation and the reason for cancellation. We will not send You advance notice if the reason for cancellation Is nonpayment of the Contract price, a
   material misrepresentation by You to Us, or a substantial breach of duties by You relating to the Vehicle or its use."
TEXAS
1. Unless otherwise specified on the first page of this Contract, You paid for this Contract in cash. If You financed the Contract Price, the tenns of financing are contained in the
    Contract entered into between you and the Selling Dealer.
2. The following paragraph is added lo the section entiHed 'Cancellation of this Contract- By Us": "If We cancel this Contract, We will mall a written notice to You al Your last known
    address contained in Our records at least six (6) days prior to cancellation. The notice win state the effective dale of cancellation and the reason for cancellation. We wil not send You
   advance notice if the reason for cancellaticn Is nonpayment of the Contract Price, a material misrepresentation by You to Us, or a substantial breach of duties by You relating to the
   Vehicle or its use."
3. The following sentence Is inserted after the first sentence under 'Cancellation of this Contract - Refunds and Charges": "In that case, We will provide You with a refund within forty-
   five (45) days after the Selling Dealer receives Your written notice of cancellation, and if We fail to do so within that time, We wiU pay You a penalty of ten (10%) percent of the
   Contract Price for each month lhal the refund remains unpaid." Pursuant to Section 1304.158, You may request reimbursement directly from the insurer if a refund or credit is not
   paid before the forty-sixth (46~> day after the date on which the Contract is returned to the Administrator.
4. Any unresolved complaints concerning Us or questions concerning the regulation of service contract providers may be addressed to the Texas Department of Licensing and Regulation
   at the following address and telephone numbers: Texas Department of Licensing and Regulation, P.O. Box 12157, Austin, TX 78711, (800) 803-9202/(512) 463-6599
UTAH
1. Coverage afforded under this Contract is nol guaranteed by the Property and Casualty Guaranty Association.
2. The Contract purchase price is payable, in full, at the time of purchase.
3. The following language Is added al the end of paragraph 2 under 'Your Obligations:': If a Covered Part has a Covered Breakdown at any time outside of Claims Department regular
    business hours, You should report the repairs lo the Administrator as soon as reasonably possible.
4. The following sentence is added to the section entitled ·cancellation of this Contract - By Us": We may only cancel this Contract, for material misrepresenlation or substantial
    breaches of contractual duties, conditions, or warranties, We will malt to You written notice of cancellation at least thirty (30) days before the cancellaUon date. However, if We cancel
    this Contract for nonpayment of the amount financed by the Lien holder, We will mail to You written notice of cancellation at least ten (10) days before the cancellation dale.
5. Under the emergency repairs section of this Contract, ·on the next business day, You should report the repairs to the Administrator" Is amended as follows, 'As soon as reasonably
   possible, You should report lhe repairs to the Administrator."
6. The toll-free number for Dealers Assurance Company is 1-800-282-8913.
7. This Service Contract is subject to limited regulation by the Utah Insurance Department. To file a complaint, contact the Utah Insurance Department.
VIRGINIA
The definition of'We,' ·us· and "Our" under 'Definitions' is replaced with the following: "We,' "Us" and "Our" refers to Superior Protection Plan.
WISCONSIN
1. THIS SERVICE CONTRACT IS SUBJECT TO LIMITED REGULATION BY THE OFFICE OF THE COMMISSIONER OF INSURANCE.
2. The following sentences are added to the first bullet point in item 2 under "Your Obligations' and to item A28 under 'Exclusions-What this Contract does not Cover":
    'However, the failure by You to obtain an authorization number from the Administrator prior lo beginning a repair will not invalidate or reduce a claim unless We are prejudiced by
    Your failure to obtain an authorizaUon number. In other words, We will not deny a claim solely because You or Your repair facility failed to obtain an authorization number before
   beginning a repair.'
3. The first sentence under "Other Important Contract Provisions/Limitations - Our Rights Against Others· Is replaced with the following:
   'If You receive any benefits under this Contract, We will be entitled lo all Your rights of recovery against any manufacturer. repairer or other party who may be responsible to You for
   the costs covered by this Contract or for any other payment made by Us, but only after You have been made whole for Your loss 0.e., You have been fully compensated for Your
   damages)."
4. Once authorization is obtained, and the repair Is completed, all repair invoices and documentation must be submitted to the Administrator as soon reasonably possible.
5. You may reject and return this Contract within fifteen (15) calendar days of the delivery of this Contract for a full refund, less actual costs and/or charges needed to issue and service
   this Contract.
6. Within the "Your Obligations" section, lhe following sentence(s) is amended: 'To make a ciaim, call the Administrator toll-free at H!66-410-6748. Claims Department hours
   are Monday through Friday. 7 a.m. to 7 p.m .• Saturday 8 am. to 2 p.m .. Central Time. CLAIMS MUST BE SUBMITTED AS SOON AS REASONABLE POSSIBLE AND
   WITHIN ONE (1) YEAR FROM AUTHORIZATION TO QUALIFY FOR REIMBURSEMENT."
FORM AWA-XX·XX-05                                                                               P.8                                                                             REV 02.15.12
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 7. The section entitled 'Your Obligations - Emergency Repairs" is amended with the following: "If emergency repairs covered by this Contract are required outside the Selling
     Dealer's or Administrator's business hours, You should deliver Your Vehicle to a licensed repair facility and have the necessary repairs performed at a reasonable and
    customary charge. As soon as reasonably possible and within one (1) year, You should report the repairs to the Administrator. Failure by You to give notice or proof
    within the Ume required does not Invalidate or reduce the daim unless You are prejudiced by the failure to give notice. To report an emergency repair and obtain a
    reimbursement, please call the claims number below for instructions. Emergency repairs are only those repairs, which, if not performed, would render Your Vehicle
    inoperable or unsafe to drive and impair Its future operation."
WYOMING
1. Unless otherwise specified on the first page of this Contract, You paid for this Contract in cash. If You financed the Contract price, the tenns of financing are conlained in the
    Service Contract entered into between You and the Selllng Dealer.
2. The following paragraph is added to the section enti6ed "Cancellation of this Contract- By Us'.: 'If We cancel this Contract, We wm mail a written notice lo You at Your last known
    address contained in Our records at least ten (10) days prior to cancellation. The notice will state the effective date of cancellation and the reason for cancellation. We will not send
    You advance notice if the reason for cancellation is nonpayment of the Contract Price, a material misrepresentation by You to Us, or a subslantial breach of duties by You relating to
    the Vehicle or its use.•
3. If there Is a Lien Holder, the refund less a cancellation fee win be paid to You and the Lien Holder.
4. Arbitration will take place in accordance with the Wyoming Arbitration Act.
5. The followilg paragraph Is deleted from the section entitled "Cancellation of this Contract- By the Lien Holder": ""You uooerstand and acknowledge that the Lien Holder (if any)
   has the right to cancel this Contract if the Vehicle Is repossessed or destroyed or You are otherwise in default of Your obligations to repay the amount financed by the Lien Holder.•
6. The following paragraph is added lo the section entitled "Cancellation of this Contract': Service contracls shaff require the provider to pennit the origilal service contract holder to
   retum the service contract within twenty (20) days of the date the service contract was mailed to the service contracl holder or within ten (10) days of delivery If lhe service contract is
   delivered to lhe service contract holder at the time of sale or within a longer time period permitted under the service contract. Upon re1um of the service contract to the provider within
   the applicable time period, if no claims have been made under the service contract prior lo its retum to the provider, the service contract Is void and the provider shall refund the
   service contract holder, or credit the account of the service contract holder, with the fuR purchase price of the service contract. The right to void the service contract provided in this
   subseclion is not transferable and shall apply only to lhe Of',jinal service contract purchaser, and only if no claim has been made prior to its return to the provider. A ten percent (10%)
   penally per month shall be added to a refund that is not paid or aedited within forty-five (45) days after re1um of the service contract to the provider. A canceBation fee is not allowed if
   the service contract is canceled during the 'free look" period.




FORM AWA-XX-XX-05                                                                             P.9                                                                            REV02.15.12
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ChristOf}her Miller and Kaci Miller v. First Automotive Service Corporation~ et al.
Circuit Court of Faulkner County, Arkansas
PLAINTIFF,s COMPLAINT
                          Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 31 of 51
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PARTS•···· •QTY•· ·FP·NUMBER· ·· · ··· ··•. l. · ·, SCRIPTION•• · · · •·•. · · · •· ·····••UNIT PRICE·                        INFORMATION     CONTAINED      IS
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                                                I i               JOB# 3 TOTAL LABOR &PARTS
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Added Operation (CHAOW@ 01/17/2017 17:0)                                                                                      INDICATION FROM THE APPEARANCE
                FOUND DURIIIG VEHICLE II/SPECTl N                                                                             OF THE VEHICLE OR OTHERWISE,
                SUSPENSION CONCERN WILL REQUl E ATTENTION SOON                                                                THAT ANY PART REPAIRED OR
                aorn FROITT STRUTS & aoTH/R          SHOCKS ~/EAK/LEAKING                                                     REPLACED UNDER THIS CLAIM HAD
               CUSTOMER 1-/AS INFORMED OF CON I RN                                                                            BEEN CONNECTED IN AJolY WAY WITH
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PARTS•·····QTY···FP·NUM8ER···········1I ··· ·1. SCRIPTIOll·•················••UNIT PRICE•                                     MISUSE. RECORDS SUPPORTING
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                                                                                                          BuickGMC
                                                                                                     710 South Amity Rd. • Conway, Arkansas 72032
                                                                                                      (501) 329-6825 Business • (501)329-9127 Fox




             - -www.crainteam.c°lm
                                                   !                                                                                              CELL: 501-428-061~
  cv~roMen rio.                                                         ADVISOR                                                         IHVOICE DATE   mvcnce NO.
                     1353499                                            HEATH                                                               01/18/17   PNCS121128
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  CHRIS MILLER                                                          YEM/ MAKE/ MOOa                                                 DEI.IVERY DATE                  DELIVERY l.11lES
  11 BUDCHUCI< LN                                                       10/CHEVROLET TRUCK/SILVERADO 1500/CR
  CONWAY, AR 72032                                                      YailCLE 1.0. 110.                                               SEWIIG DEALER NO.               PRODUCTION CATE
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                                                                                                                                                WARRANTY DISCLAIMER
                                                                                                                                       The warranties on these parts are the
  dded Operation (CHADW@ 01/17/2017 17:Q)                                                                                              manufacturer's. The CRAIN AUTOMOTIVE
              FOUND DURING VEHICLE INSPECT ON                                                                                          TEAM Dealership disclaims all warranlies,
              BELT(S) WILL REQUIRE ATTENTI N SOON                                                                                      either expressed or Implied, including any
              BOTH BELTS WORE          i   i                                                                                           Implied warranty of merchantabilily or
              CUSTOMER l~AS INFORMED 0~ co~ :ERN                                                                                       lilness for a particular purpose. The CRAIN
                                                                                                                                       AUTOMOTIVE TEAM Dealership doesn't
 PARTS······QTY···FP-NUHBER-·········J ••• , ESCRIPTION••··················UNIT PRICE·
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                                                                                                                                       assume nor authorize any person to assume
                                                                                                                                       any liability in connection wilh the sale of


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 Added Operation (CHAOW@           01/17/2017 17:l.!)
                                                                                ~~~iti,t~~I~~o ~~~·~ -~~:~··········t~~                these parts. This disclaimer in no way allects
                                                                                                                                       the terms of the manufacturer's warranty.
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    ·         FOUND DURING         VEHICLE IN PEC11 ON                                                                                 SITUATION BEYOND OUR CONTROL, WE ARE
              CONCERN WILL         REQUIRE ATTIEtlTI. N SOON                                                                           NOT RESPONSIBLE FOR LOSS OR DAMAGE
              TIRE LAMP ON                                    i                                                                        ro VEHICLES OR ITEMS LEFT IN VEHICLES.
              CUSTOMER HAS         INFORMED OF1 CON ERN
                                                              i                                         Shop Supplies and Environmental
 PARTS·••·• •QTY·· ·FP-NUMBER· • • • -- - - ·······I ESCRIPTION- • • • • • • • • • • • ········UNIT PRICE-       Disposal Charges
                                                   :                              JOB# 6 TOTAL PARTS
                                                                                              0.00 A charge equal Jo 10% of the value ol total
                                                                                                   labor charges Is due for all repairs. Applicable
                                                        JOB# 6 TOTAL LABOR &PARTS             0.00
......................................... i •••••••••••••••••••••••••••••••••••••••••••••••••••••• supply ilems which are included In the charge
                                                                                                   Include fasteners, cleaners, chemicals,
Jff 7+20CVZ           *A/C & HEATING        i             TECH(S) :14990                    451.00 solvents, lubricants, certain sealers, rags,
Added Operation (BROWNN@01/18/2017107: 9)                                                          towels and other expendable items which are
             C/S VEHICLE IS HAKING LOUD GI INDING NOISE COMING FROM UNDER                          not otherwise specilically itemized on your
             THE HOOD                 I ;                                                          Invoice. Environmental Disposal charges are
             BEARING IN A/C COMPRESSOR BAI NOISY                                                   to ollset the cost of managing, sloring and
             REPLACED A/C COMPRESSOR. I EVA< UATED &                                               disposing of wastes In accordance with local,
             RECHARGED A/C SYSTEM. CNO FU! lllER ABNORMAL NOISE HEARD)                             state and federal laws. The actual value of
             NO WARRANTY ON COMPRESSOR FRC M WHERE IT WAS BOUGHT BECAUSE
             THE DRYER WAS NOT REPLACID                       !                                    these Hems used In your repair may be more
                                                                                                   or less than the value you are charged.
PARTS.·····•QTY··•FP•NUHBER···········r·••t•ESCRIPTION••··················UNIT PRICE·                                                  ON BEHALF OF SERVICING DEALER, I
JOB # 7      l     78377                ( MPRESSO                              311.25                                       311.25 HEREBY CERTIFY THAT THE
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i5~~~Eg~r soi :,i2a:06i9 ·EXT·1:,MfiAArv · · · rI ···• ·········································                                       ANY ACCIDENT, NEGLIGENCE OR
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SUPERIOR PROTECTION PLAN                            ·                                                                                  THIS CLAIM ARE AVAILABLE FOR (1)
1·866·410 ·6748                                                                                                                        YEAR FROM THE DATE OF PAYMENT
AUTH N10UNT $485.84                                                                                                                    NOTIFICATION AT THE SERVICING
AUTH NUMBER 80271288                                                                                                                   DEALER FOR INSPECTION        BY
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                                                                                                                                    710 South Amity Rd • Conway, Arkansas 72032
                                                                                                                                     (501) 329-6825 Business • (501) 329-9127 Fnx




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 CUSTOMER NO.                                                                                ADVISOR                                                                        L'NOICEOATE  .   IIMI  NO.
                       1353499                                                               HEATH                                                                   4007        01/18/17 PNCS121128
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 11 BUDCHUCK LN                                                                              1O/~HEVROLET TRUCK/SILVERADO 15OO/CR
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 UTH AMOUNT S762.25                                                          !                                                                                                   The warranties on lheso pans aro lhe
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Aun! NUMBER 3269965                                                                                                                                                             TEAM Dealership disclaims all warranties,
FAX ATTENTION CASHIER                                                                                                                                                            either expressed or lmpllod, Including any
1-972-813-0717                                                                                                                                                                  Implied warranty of morchnnlablllly or
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RECOMMENDATIONS-··· -• - • • • - • • - • • - • • -• • • • • • i • • • ·                •• • • • • • • • •· • •• • • • • •• · · • · • · • •• •• • · • • • · ·                    AUTOMOTIVE TEAM Oealershlp doosn't
TECH RECOMMENDATION ON R0#121128                              i                                                                                                                 assume nor authorize any parson lo assume
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REAR SHOCKS LEAKING                                           ,
  LE SEAL LEAKIHG                                    I       l                                                                                                                  these parts. This dlsclalmor In no way alfocls
CALL HEATH FOR APPOINTMENT 501-932-0654 I                                                                                                                                       the terms of the manufacturer's warranty.

TOTALS··························· •••                        .l. ··i • •• • •• - • • • •• • • • • -· • • •• • • • • • • • • • • --· - • • • •• - --- •• - ••• ---
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                                                                                                                                                                               IN CASE OF FIRE, YHEFr OR ANY OTHER
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THANK YOU FOR ALLOWING CRAIN BUICK, Gi,1c i                                                                                  TOTAL LABOR....                         946.00 NOT RESPONSIBLE FOR LOSS Oh DAMAGE
TO SERVICE YOUR VEHICLE. WE smIVE TO GA N YOUR COMPLETE                                                                      TOTAL PARTS....                         402.09 TO VEHICLES OR ITEMS LliFT IN VEHICLES.
SATISFACTIOII WITH EACH VISIT. YOU HAY RE EIVE A CUSTOMER                                                                    TOTAL SUBLET...                           0.00
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RATE YOUR SERVICE EXPERIENCE. IF, FO ANl REASON. YOU                                                                         TOTAL MISC CHG.                          94.60              Dlspos11I Charges                   "
CANNOT CHECK "COMPLETELY SATISFIED." L E CONTACT YOUR                                                                        TOTAL msc DISC                        -1342.69 A charge equal to 10% ol lho valuo of lolal
SERVICE ADVISOR IMMEDIATELY.                                                                                                 TOTAL TAX......                           0.00 labor charges is due for all repairs. Applicable
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                                                                                                     (501)329·6S25 Dusinc:ss • (JOI) 329•!1127 Fax




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   CHRIS MILLER
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                     Bifj,ick GMC
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           71 ll ~•)Ulh /\mil}' Rll. • Comvny. An;;m!<'.1:i 72032
            t5(ll) 329-bll25 Bw;im!!'S • (501) 329-9127 Fm1
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                                                                                                             3GCRKPE37AG195329                                              10/CHEVROLET TRUCK/SILVERADO lSOO/C                                                                                                 121128
                                                                                                              CHRIS MILLER                                                  1353499 I             SEIMCE CONTOIGT                           ' 0E1.IYEfl'I' DATE
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                          www.crainteam.com                                                                  i-,,.o,;~r~e-rn=u~e~PR~O~l,~IIS~E~D------'--~==--1 diVn-'90 IO dMJ ~ o votide, er turctat.loll u101otn:ln cn,.o ol t.,o. d10110, 0"101 c.iusulJoyontJ            accessories replaced                         or
                                  STATE REG#                           F212                                   01 12/17                                                       )OIJlcont    ·h:>1onozp,osamoch:rnlc'sflenlshot0bf.-itdl)Gdonttollb0Yovaluclokl                  removed by the shop
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       O      Thlsvchlclcrncclvcdwllhoullacelolacecustomorconlilcl.                                                         .ADVISOR: HEATH                                      , \ ~~ -                                                                                                • Yes              • No
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                                                   Stm•ATUAE
                                                                                                                                                                                                                                                                                           CALL WHEN VEHICLE
                                                                                                                       COMMENTS:                                                                                                                                                                IS READY
                                                                                                                       DROP OFF 501-428-0619 EXT WARRANTY
                                                                                                                                                                                                                                                                                             • YES               ONO
                                    GM 108K DEALER RECOM                                     MI                  11 C       10CVZ                DRIVEABJLITY
                                                                                                                       C/5 CHECK ENGINE LIGHT ON. OIL PRESSURE DROPPING AND SAYS TO
                                                                                                                       TURN OFF VEHICLE. VEHICLE MAKING A GRJNDING /KNOCKING NOISE.
                                                                                                                       OIL SENDING UNIT HAS BE REPLACED TWICE. EXT WARRANTY


                                                                                                                  2    IC   10CVZ99P             INSPECTION REPORT
                                                                                                                        PERFORM 27 POINT MULTl-POINT JNSPECTION



"JO'AAE"ENH 1u:0·10 ff PHlvt:·t:ti'IIMAll:"l'Of-n HE-Kt:1:-'AffiSlUU'HAvt:·•-- · · · ,--- ·
 ITHORIZED. THE REPAIR MAY BE LESS THAN THE ESTIMATE, BUT WILL
.)L.EXCEEO_THE_ESTIMATE_WIT.HOU.L'l'OUELEERMISSION....YOUR.,...---
 3NATURE WILL INDICATE YOUR ESTIMATE SELECTION.

 :RVICE A D V I S O R - - - - - - - - - - - - - - - - -                                                                                                                                                                                                                                     L/,O(-;, ;J.S
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       Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 36 of 51
                                                                                     ELECTRONICALLY FILED
                                                                                       Faulkner County Circuit Court
                                                                                        Crystal Taylor, Circuit Clerk
                                                                                      2018-Jun-27 10:09: 17
                                                                                          23CV-18-955
                                                                                        C20002 : 2 Pages




                                 EXHIBIT NO.

                   SCJUTHWESTREl?AYMENT




Chn"stopher Miller and Kaci Miller v. First Automotive Service CorporationJ et al.
Circuit Court of Faulkner County, Arkansas
PLAINTIFF's COMPLAINT
              Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 37 of 51

 ~outnwest                                  I
                                                                                      Attentiar Heath
SOUTHWESTRE                                 I                                         Card#: 5529-4206-5183-'.?215
2400 Louiliana Blvd                                                                  CSC:     '.?85
J\lblq.ierque, NM 87110                                                              Expiratm J/3112020
                                                                                     Amout: $1,248.09


ClaimNumbe1: 201701004235                                                           OJstomei.Name: KACI MILLER
RON1.1mbo1: 121128                                                                  VIN: 3GCRKPE37AGl95329
A.mOUl'ltPaid: 1248.0900                                                            VarianceR.eason$: MSR,TAX




                                                                                    This is a one-time use stored value card, which cannot be overcharged
                                                                                    and does not allow additional charges; all transactions will be mcked
                                                                                    and audited This card will be voided 3 days from date of issue if not
                                                                                    charged




                                                                                    Sincerely,

                                                                                    Credit Card Processing




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       Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 38 of 51
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                     CRAIN BUICK.REPAIRS            :,. ::,",,:.::,·,,·:_,




                                   Jt1ne 12,2017




Christopher Miller and Kaci Miller v. First Automotive Service Corporation~ et al
Circuit Court of Faulkner County, Arkansas
PLAINTIFF's COMPLAINT
                            Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 39 of 51
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                                                                                                    Buick GMC                                                                               0
                                                                                             710 South Amity Rd. • Conway, Arkansas 72032                                                   CJ)
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                                                                                                                                                        CELL: 501-428-0619
 CUSTOMER NO.                                                 ADVISOR                                        .ITAG NO.               INVOICE DATE                  INVOICE NO.
                    1353499                                   NICHOLAS BOYER                            508701        7565               07/17/17                  PNCS907351
                                                              LABOR RATE             ILICENSE NO.
                                                                                                              IMILEAGE
                                                                                                                         133,004 I
                                                                                                                                     COLOR                         STOCK NO

  CHRIS MILLER                                                YEAR' MAKE' MODEL                                                      oa1vEAY DATE                 oa1vERY MILES
 11 BUD CHUCK LN                                              10/CHEVROLET TRUCK/SILVERADO 1500/CR
 CONWAY, AR 72032-9788                                        VEHICLE 1.0. NO.                                                       SELLING DEALER NO.            PRODUCTION DATE
                                                              3 GC R KP E 3 7 AG1 9 5 3 2 9
                                                              F.T.E.NO.                                 IP.O.NO.                     A.O.OATE
                                                                                                                                         06/12/17
 RESIDENCE PHONE                 I BUSINESS PHONE             COMMENTS
   501-428-0619                                                                                                                                                       MO: 133004
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                                                                                                                                          wa~:n~i::Nor: ~ :s~L~~~;Rare the
                   CUSTOMER STATES CHECK ENGINE LIGHT ON, HAS X-WARRANTY NEEDS                                                      manufacturer's. The CRAIN AUTOMOTIVE
                   EST,                                                                                                             TEAM Dealership disclaims all warranties,
                   ENGINE HAVING EXCESSIVE WEAR • KNOCKING & LOW OIL PRESSURE                                                       either expressed or implied, including any
                   WHEN HOT             .                                                                                           implied warranty of merchantability or
                   (HAS OVER 8 THOUSAND MILES ON OIL CHANGE)                                                                        fitness for a par1icular purpose. The CRAIN
                   (HAVE TORE DOWN ENGINE TO INSPECT PER X-WAR.)                                                                    AUTOMOTIVE TEAM Dealership doesn't
                   FOUND EXCESSIVE CRANKSHAFT ENDPLAY (MEASURED O. 016, SPEC                                                        assume nor authorize any person to assume
                   NO MORE THAN 0.0078) CYLINDER #4 & #8 ROD BEARINGS HAD                                                           any liability in connection with the sale of
                   STARTED TO SPIN, SCORED CRANKSHAFT & #4 CYLINDER WALL.                                                           thesepar1s.Thlsdlsclaimerinnowayaffects
                   DECLINED ENGINE REPLACEMENT & ANY & All REPAIRS·                                                                 the terms of the manufacturer's warranty.

                                                                      JOB #      1 TOTAL LABOR & PARTS                    840.00    IN CASE OF FIRE, THEFT OR ANY OTHER

j;:2.·_-1s~iost~~t~d-ii,iJ}jsiEE1i'Thtr~useitls1liNfil~;;~;i,~,~,,~,~~E_~,.s~1;i!iefo~;,,I;km~i~~i~~i;~~n:}_<1'~1i!                 SITUATION BEYOND OUR CONTROL, WE ARE
                   C/S POPPING NOISE WHILE DRIVING, NEEDS EST.                                                                      NOT RESPONSIBLE FOR LOSS OR DAMAGE
                   U JOINTS FOR REAR DRIVE SHAFT WORE/NOISY                                                                         TO VEHICLES OR ITEMS LEFT IN VEHICLES.
                   BOTH ENGINE MOUNTS BROKEN/LOOSE
                   UPPER & LOWER BALLJDINTS HAVE SLACK/LOOSE, BOTH INNER                                                                Shop Supplies and Environmental
                   TIE ROD ENDS LOOSE                                                                                                          Disposal Charges
                   DECLINED All REPAIRS                                                                                             A charge equal lo 10% of the value of total
                                                                                                                                    labor charges is due for all repairs. Applicable
                                                                     JOB #       2 TOTAL LABOR & PARTS                      O, 00   supply items which are included in lhe charge

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  ., ---- " .      c/s"4wo··MAKING A.LOUD NOISE. ON DRIVER SIDE WHEN ENGAGED.                                                       towels a~d other expendable ilems which are
                   NEEDS EST.                                                                                                       not otherwise specifically itemized on your
                   HAS MANUAL TRANSFER CASE • WORKING PROPERLY AT THIS                                                              invoice. Environmental Disposal charges are
                   TIME                                                                                                             to offsel the cosl of managing, storing and
                   NO REPAIRS MADE AT THIS TIME                                                                                     disposing of wastes in accordance with local,
                                                                                                                                    stale and federal laws. The actual value of
                                                                     JOB #       3 TOTAL LABOR & PARTS                      0.00    these items used in your repair may be more
~:-~:~jtJW~ow0~,;i!ir~it~fffaii~s~i:?kta~~~'~iji,;iI"~n7~fE_tf.l~s,):i~~ict~~i~~~~;~~rj~~R~:'(t"i"6:IB~J or less than the value you are charged.
                   C/S TRANSMISSION FLUID LEAKING, NEEDS EST.                                                                       ON BEHALF OF SERVICING DEALER, I
                   All TRANS COOLER LINES LEAKING                                                                                   HEREBY    CERTIFY   THAT   THE
                   REAR DIFF PINION SEAL LEAKING, ALL 4 SHOCKS WEAK/LEAKING                                                         INFORMATION    CONTAINED     IS
                                                                                                                                    ACCURATE: UNLESS OTHERWISE
                                                                     JOB #       4 TOTAL LABOR & PARTS                      0.00    SHOWN    SERVICES    DESCRIBED

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                   C/S TRANSMISSION SLIPPING THEN BANGING HARD INTO GEAR, NEEDS                                                     INDICATION FROM THE APPEARANCE
                   EST·                                                                                                             OF THE VEHICLE OR OTHERWISE,
                   INTERNAL TRANS WEAR • FLUID DARK                                                                                 THAT ANY PART REPAIRED OR
                   DECLINED TRANSMISSION REPLACEMENT                                                                                REPLACED UNDER THIS CLAIM HAD
                                                                    JOB #        5 TOTAL LABOR & PARTS                     o OO     BEEN CONNECTED IN ANY WAY WITH
                                                                                                                             •      ANY ACCIDENT, NEGLIGENCE OR
j~:7r~~i5~z99'eC}E;~NSP.EfTIONf-REebRrr£'~a:~i,;~~~~'.-'.~~IE(tt{ST!£,Tu9R02'.~~"T;~!'+~w'~ii~:~~f:,ifoiffb~ ~~~~~L1/:~~~Rf~1J'~~:~~~I~~
                   PERFORM 27 POINT MULTI-POINT INSPECTION                                                                          YEAR FROM THE DATE OF PAYMENT
                   COMPLETED 27 .POINT MULTI-POINT INSPECTION                                                                       NOTIFICATION AT THE SERVICING
                                                                    JOB #        6 TOTAL LABOR & PARTS                     0.00     DEALER   FOR   INSPECTION                          BY
                                                                                                                                    REPRESENTATIVES.



PAGE 1 OF2                        SERVICE FILE COPY                              [CONTINUED ON NEXT PAGE]            01:41pm                        AUTHORIZED SIGNATURE
                                                                                                                                                The Reynolds and Rtynolds Company ERAINTINVE
                                                                                                                                                                      SF619091 Q (09/16)
                                          Case 4:18-cv-00502-DPM Document 2 Filed
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                     www.crainteam.com                                                                                                                                                                                                                            ......
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 CUSTOMER NO.                                                                                    ADVISOR                                                            I
                                                                                                                                                                    • TAG NO                        INVOICE DATE   INVOICE NO.
                           1353499                                                               NICHOLAS BOYER                                       508701                  .7565                     07/17/17   PNCS907351
                                                                                                 LABOR RATE                    ILICENSE NO.                     IMILEAGE
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 CHRIS MILLER                                                                                    YEAR/ MAKE/ MOOB.                                                                                  DELIVERY DATE                    OB.IVERY MILES
 11 BUD CHUCK LN                                                                                10/CHEVROLET TRUCK/SILVERADO 1500/CR
 CONWAY, AR 72032-9788                                                                           VEHICLE 1,0, NO.                                                                                   SELLING DEALER NO.               PRODUCTION DATE
                                                                                                  3 GC RKP E 3 7 AG1 9 5 3 2 9
                                                                                                 F.T.E.NO.                                                                                          R.O.DATE
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 RESIDENCE PHONE
    501-428-0619
                                                   I BUSINESS PHONE                              COMMENTS
                                                                                                                                                                                                                                         MO: 133004
LABOj ~BTS------------------······-·············-···················---·······--                                                                                                .              .                                 WARRANTY DISCLAIMER
lliltt~moffieim~~OnlFRi'li\¥.~.fflfb~};'ff.cf{(iSJj!:'lffi.9.o'¾tf::~~I~:1:2.1~~~~ The warranties on these parts are the
Added Operati.on (CHADW @ 07/11/2017 08:24)                                                                                                                                                                              manufacturer's. The CRAIN AUTOMOTIVE
                            FOUND DURING VEHICLE INSPECTION                                                                                                                                                             TEAM Dealership disclaims all warranties,
                           TIRE LAMP ON, BELT NOISE                                                                                                                                                                     either expressed or implied, including any
                           CUSTOMER POSTPONED REPAIR                                                                                                                                                                    Implied warranty of merchantability or
                                                                                                                                                                                                                        fitness for a particular purpose. The CRAIN
                                                                                                                      JOB # 7 TOTAL LABOR & PARTS                                                            0.00 AUTOMOTIVE TEAM Dealership doesn't
.. • .... -- • ..... ·-· ......... - --- ........ • .. ·- ·-- ........ • • • • ........ ·- ............... ·- - .. •• .......... --· ............ • .......... • • • ....... • .. • • • ..... • .... • ........ .... .. assume nor authorize any person to assume
MISC----··CODE·····-•-DESCRIPTION-----····-····--··-··--········CONTROL NO•······-·                                                                                                                                     any liability in connection with the sale of
JOB # A                              *SS ENVIRONMENTAL CHARGE                                                                                                                                             84 • OO these parts. This disclaimer in no way affects
                                                                                                                                                   TOTAL· MISC                                            84.00
                                                                                                                                                                                                                        the terms of the manufacturer's warranty.
COMMENTS·····-·-···--··--···-·····-···--·············-··············-···············                                                                                                               IN CASE OF FIRE, THEFT OR ANY OTHER
CALL WITH EST. 501·428·0619
                                                                                                                                                                                                   SITUATION BEYOND OUR CONTROL, WE ARE
TOTALS······-······································-····························-···············                                                                                                   NOT RESPONSIBLE FOR LOSS OR DAMAGE
                                                                                                                                                                                                   TO VEHICLES OR ITEMS LEFT IN VEHICLES.
THANK YOU FOR ALLOWING CRAIN BUICK, GMC                                                                                            TOTAL       LABOR •.••                           840.00
TO SERVICE YOUR VEHICLE. WE STRIVE TO GAIN YOUR COMPLETE                                                                           TOTAL       PARTS ....                             0.00              Shop Supplies and Environmental
SATISFACTION WITH EACH VISIT. YOU MAY RECEIVE A CUSTOMER                                                                           TOTAL       SUBLET .••                             0.00                       Disposal Charges
SATISFACTION SURVEY FROM GENERAL MOTORS ASKING YOU TO                                                                              TOTAL       G.O.G ••••                             0.00         A charge equal to 10% of the value of total
RATE YOUR SERVICE EXPERIENCE. IF, FOR ANY REASON, YOU                                                                              TOTAL       MISC CHG.                             84.00         labor charges is due for all repairs. Applicable
CANNOT CHECK "COMPLETELY SATISFIED," PLEASE CONTACT YOUR                                                                           TOTAL       MISC DISC                              0.00         supply ilems which are included in the charge
SERVICE ADVISOR IMMEDIATELY.                                                                                                       TOTAL       TAX ••••••                            80.85         include fasleners, cleaners. chemicals,
                                                                                                                                                                                                   solvents, lubricants, certain sealers, rags,
                                                                                                                            TOTAL INVOICE$                                  1004.85                towels and olher expendable items which are
                                                                                                                                                                                                   not otherwise specifically itemized on your
                                                                                                                                                                                                   invoice. Environmental Disposal charges are
             CUSTOMER SIGNATURE                                                                                                                                                                    to offset the cost of managing, storing and
**************************                                  DU P L I C A T E                        I NV O I C E                       ***************************                                 disposing of wastes in accordance with local,
                                                                                                                                                                                                   state and federal laws. The actual value of
                                                                                                                                                                                                   these items used in your repair may be more
                                                                                                                                                                                                   or less than the value you are charged.

                                                                                                                                                                                                   ON BEHALF OF SERVICING DEALER, I
                                                                                                                                                                                                   HEREBY     CERTIFY   THAT   THE
                                                                                                                                                                                                   INFORMATION     CONTAINED     IS
                                                                                                                                                                                                   ACCURATE: UNLESS OTHERWISE
                                                                                                                                                                                                   SHOWN     SERVICES    DESCRIBED
                                                                                                                                                                                                   WERE PERFORMED AT NO CHARGE
                                                                                                                                                                                                   TO   OWNER. THERE WAS        NO
                                                                                                                                                                                                   INDICATION FROM THE APPEARANCE
                                                                                                                                                                                                   OF THE VEHICLE OR OTHERWISE,
                                                                                                                                                                                                   THAT ANY PART REPAIRED OR
                                                                                                                                                                                                   REPLACED UNDER THIS CLAIM HAD
                                                                                                                                                                                                   BEEN CONNECTED IN ANY WAY WITH
                                                                                                                                                                                                   ANY ACCIDENT, NEGLIGENCE OR
                                                                                                                                                                                                   MISUSE. RECORDS SUPPORTING
                                                                                                                                                                                                   THIS CLAIM ARE AVAILABLE FOR (1)
                                                                                                                                                                                                   YEAR FROM THE DATE OF PAYMENT
                                                                                                                                                                                                   NOTIFICATION AT THE SERVICING
                                                                                                                                                                                                   DEALER    FOR INSPECTION     BY
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PAGE20F2                                             SERVICE FILE COPY                                                             [ END OF INVOICE )                     01:41pm                                  AUTHORIZED SIGNATURE
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                               Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 41 of 51
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                www.crainteam.com
                                                                                                                                                CELL: 501-428-0619
 CUSTOMER NO.                                                 AOVISOR                                                                INVOICE DATE    INVOICE NO.
                    1353499                                   NICHOLAS BOYER                                                             07/17/17    PNCS907351
  CHRIS MILLER
                                                              LABOR RATE           1LICENSENO.
                                                                                                             I
                                                                                                             MILEAGE
                                                                                                                       133,004 I
                                                                                                                                     COLOR                         STOCK NO.


                                                              VEAR / MAKE I MOOR                                                     DRIVEAV DATE                  OalVEAV MILES
 11 BUD CHUCK LN                                             10/CHEVROLET TRUCK/SILVERADO 1500/CR
 CONWAY, AR 72032-9788                                       VEHICLE 1.0. NO.                                                        SELLING DEALER NO.            PRODUCTION DATE
                                                              3 GC R KP E 3 7 A G1 9 5 3 2 9
                                                             F.T.E.NO.                            IP.O.NO.                           R.0.DATE
                                                                                                                                         06/12/17
 RESIDENCE PHONE                  I BUSINESS PHONE           COMMENTS
   501-428-0619                                                                                                                                                       MO: 133004
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                   CUSTOMER STATES CHECK ENGINE LIGHT ON, HAS X-WARRANTY NEEDS                                                      manufacturer's. The CRAIN AUTOMOTIVE
                   EST.                                                                                                             TEAM Dealership disclaims all warranties,
                   ENGINE HAVING EXCESSIVE WEAR - KNOCKING & LOW OIL PRESSURE                                                        either expressed or implied, including any
                   WHEN HOT                                                                                                         implied warranty of merchantability or
                   (HAS OVER 8 THOUSAND MILES ON OIL CHANGE)                                                                        fitness for a particular purpose. The CRAIN
                   (HAVE TORE DOWN ENGINE TO INSPECT PER X-WAR.)                                                                    AUTOMOTIVE TEAM Dealership doesn't
                   FOUND EXCESSIVE CRANKSHAFT ENDPLAY (MEASURED O. 016, SPEC                                                        assume nor authorize any person to assume
                   NO MORE THAN 0.0078) CYLINDER #4 & #8 ROD BEARINGS HAD                                                           any liability in connection with the sale of
                   STARTED TO SPIN, SCORED CRANKSHAFT & #4 CYLINDER WALL.                                                           theseparts.Thisdisclaimerinnowayaffects
                   DECLINED ENGINE REPLACEMENT & ANY & ALL REPAIRS·                                                                 the terms of the manufacturer's warranty.

                                                                     JOB #      1 TOTAL LABOR & PARTS                    840.00     IN CASE OF FIRE, THEFT OR ANY OTHER

;;:-,22~sc.vi<jjif~'k,;~i&i~iriEER@&usifENsfuM~~~~~i~cs;i?;,iA~.9_o~;~c;;J!s;"ki:;&;?i££:'frc,[cff<iOB                              SITUATION BEYOND OUR CONTROL, WE ARE
                   C/S POPPING NOISE WHILE DRIVING, NEEDS EST.                                                                      NOT RESPONSIBLE FOR LOSS OR DAMAGE
                   U JOINTS FOR REAR DRIVE SHAFT WORE/NOISY                                                                         TO VEHICLES OR ITEMS LEFT IN VEHICLES.
                   BOTH ENGINE MOUNTS BROKEN/LOOSE
                   UPPER & LOWER BALLJOINTS HAVE SLACK/LOOSE, BOTH INNER                                                                Shop Supplies and Environmental
                   TIE ROD ENDS LOOSE                                                                                                            Disposal Charges
                   DECLINED ALL REPAIRS                                                                                             A charge equal to 10% of the value of total
                                                                                                                                    labor charges is due for all repairs. Applicable
                                                                    JOB #       2 TOTAL LABOR & PARTS                      O, 00    supply items which are included in the charge

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                   C/S 4WD MAKING A LOUD NOISE ON DRIVER SIDE WHEN ENGAGED,                                                         towels and other expendable items which are
                   NEEDS EST.                                                                                                       not otherwise specifically itemized on your
                   HAS MANUAL TRANSFER CASE - WORKING PROPERLY AT THIS                                                              invoice. Environmental Disposal charges are
                   TIME                                                                                                             to offset the cost of managing, storing and
                   NO REPAIRS MADE AT THIS TIME                                                                                     disposing ol wastes in accordance with local,
                                                                                                                                    state and federal laws. The actual value of
                                                                    JOB #       3 TOTAL LABOR & PARTS                      0.00     these items used in your repair may be more
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                   C/S TRANSMISSION FLUID LEAKING, NEEDS EST.                                                                       ON BEHALF OF SERVICING DEALER, I
                   ALL TRANS COOLER LINES LEAKING                                                                                   HEREBY    CERTIFY    THAT   THE
                   REAR DIFF PINION SEAL LEAKING, ALL 4 SHOCKS WEAK/LEAKING                                                         INFORMATION    CONTAINED      IS
                                                                                                                                    ACCURATE: UNLESS OTHERWISE
                                                                    JOB #       4 TOTAL LABOR & PARTS                      0.00     SHOWN    SERVICES     DESCRIBED

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                   C/S TRANSMISSION SLIPPING THEN BANGING HARD INTO GEAR, NEEDS                                                     INDICATION FROM THE APPEARANCE
                   EST·                                                                                                             OF THE VEHICLE OR OTHERWISE,
                   INTERNAL TRANS WEAR • FLUID DARK                                                                                 THAT ANY PART REPAIRED OR
                   DECLINED TRANSMISSION REPLACEMENT                                                                                REPLACED UNDER THIS CLAIM HAD
                                                                   JOB #        5 TOTAL LABOR & PARTS                      o 00     BEEN CONNECTED IN ANY WAY WITH
                                                                                                                            •       ANY ACCIDENT, NEGLIGENCE OR
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                   PERFORM 27 POINT MULTI-POINT INSPECTION
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                                                                                                                                    YEAR FROM THE DATE OF PAYMENT
                   COMPLETED 27 POINT MULTI-POINT INSPECTION                                                                        NOTIFICATION AT THE SERVICING
                                                                   JOB #        6 TOTAL LABOR & PARTS                     0.00      DEALER   FOR   INSPECTION                          BY
                                                                                                             •••••• - • • • • • •   REPRESENTATIVES.


PAGE1OF2                           ACCOUNTING COPY                              [CONTINUED ON NEXT PAGE]           01:41pm                          AUTHOAJZEO SIGNATURE
                                                                                                                                                The Reynolds and Reynolds Company ERAINTINVE
                                                                                                                                                                      SF619091 Q (09/16)
                       Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 42 of 51
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                                                                                 710 South Amity Rd. • Conway, Arkansas 72032
                                                                                  (501) 329-6825 Business • (501) 329-9127 Fax
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                www.crainteam.com
                                                                                                                                          CELL: 501-428-0619
 CUSTOMER NO.                                      AOVISOR                                       .ITAG NO              INVOICE OATE                  INVOICE NO.
                  1353499                          NICHOLAS BOYER                           508701        7565             07/17/17                  PNCS907351
                                                   LABOR RATE            ILICENSE NO.
                                                                                                  !MILEAGE 133,004_ ICOLOR ·                         STOCK NO.

 CHRIS MILLER                                      YEAR I MAKE I MODEL                                                 OELNERY DATE                  OELNERY MILES
 11 BUD CHUCK LN                                   10/CHEVROLET TRUCK/SILVERADO 1500/CR
 CONWAY, AR 72032-9788                             VEHICLE 1.0. NO.                                                    SELLING DEALER NO,           PRODUCTION DATE
                                                   3 GC R KP E 3 7 A G1 9 5 3 2 9
                                                   F.T.E.NO.                                IP.O.NO.                   R.O.OATE
                                                                                                                           06/12/17
RESIDENCE PHONE              !BUSINESS PHONE       COMMENTS
  501-428-0619                                                                                                                                          MO: 133004
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                                                                                                                            wa~:n~i~:N~Y ~ =s~L~~~;Rare the
Added Opera ti.on ( CHADW @ 07/11/2017 08: 24)                                                                         manufacturer's. The CRAIN AUTOMOTIVE
               FOUND DURING VEHICLE INSPECTION                                                                        TEAM Dealership disclaims all warranties,
               TIRE LAMP ON, BELT NOISE                                                                               either expressed or implied, including any
               CUSTOMER POSTPONED REPAIR                                                                              implied warranty of merchantability or
                                                                                                                      fitness for a particular purpose. The CRAIN
                                                           JOB#       7 TOTAL LABOR       & PARTS             0.00    AUTOMOTIVE TEAM Dealership doesn't
                                                                                                                      assume nor authorize any person to assume
MISC------C0DE--------DESCRIPTI0N-------------------------------C0NTR0L N0---------
                                                                                                                      any liability In connection with the sale of
J0B # A        *SS ENVIRONMENTAL CHARGE                                                                      84.00
                                                                                                                      these parts. This disclaimer in no way affects
                                                                     TOTAL - MISC                            84.00
                                                                                                                      the terms of the manufacturer's warranty.
C0MMENTS----------------------------------------------------------------------------                                  IN CASE OF FIRE, THEFT OR ANY OTHER
CALL WITH EST. 501-428-0619
                                                                                                                      SITUATION BEYOND OUR CONTROL, WE ARE
TOTALS------------------------------------------------------------------------------------------                      NOT RESPONSIBLE FOR LOSS OR DAMAGE
                                                                                                                      TO VEHICLES OR ITEMS LEFT IN VEHICLES.
THANK YOU FOR ALLOWING CRAIN BUICK, GMC                                      TOTAL      LABOR ••••          840.00
TO SERVICE YOUR VEHICLE. WE STRIVE TO GAIN YOUR COMPLETE                     TOTAL      PARTS ... .           0.00      Shop Supplies and Envlronmental
SATISFACTION WITH EACH VISIT. YOU MAY RECEIVE A CUSTOMER                     TOTAL      SUBLET .. .           0.00              Disposal Charges
SATISFACTION SURVEY FROM GENERAL MOTORS ASKING YOU TO                        TOTAL      G.O.G ... .           0.00 A charge equal to 10% of the value of total
RATE YOUR SERVICE EXPERIENCE. IF, FOR ANY REASON, YOU                        TOTAL      MISC CHG.            84.00 labor charges is due for all repairs. Applicable
CANNOT CHECK "COMPLETELY SATISFIED," PLEASE CONTACT YOUR                     TOTAL      MISC DISC             0.00 supply items which are included in the charge
SERVICE ADVISOR IMMEDIATELY.                                                 TOTAL      TAX ...•..           80.85 include fasteners, cleaners, chemicals,
                                                                                                                      solvents, lubricants, certain sealers, rags,
                                                                         TOTAL INVOICE$                  1004.85      towels and other expendable items which are
                                                                                                                      not otherwise specifically itemized on your
                                                                                                                      invoice. Environmental Disposal charges are
        CUSTOMER SIGNATURE                                                                                            to offset the cosl of managing, storing and
**************************        DUP L I C AT E     I NV OI C E               ***************************            disposing of wastes in accordance with local,
                                                                                                                      state and federal laws. The actual value of
                                                                                                                      these items used in your repair may be more
                                                                                                                      or less than the value you are charged.

                                                                                                                     ON BEHALF OF SERVICING DEALER, I
                                                                                                                     HEREBY     CERTIFY   THAT   THE
                                                                                                                     INFORMATION     CONTAINED     IS
                                                                                                                     ACCURATE: UNLESS OTHERWISE
                                                                                                                     SHOWN     SERVICES    DESCRIBED
                                                                                                                     WERE PERFORMED AT NO CHARGE
                                                                                                                     TO   OWNER. THERE WAS        NO
                                                                                                                     INDICATION FROM THE APPEARANCE
                                                                                                                     OF THE VEHICLE OR OTHERWISE,
                                                                                                                     THAT ANY PART REPAIRED OR
                                                                                                                     REPLACED UNDER THIS CLAIM HAD
                                                                                                                     BEEN CONNECTED IN ANY WAY WITH
                                                                                                                     ANY ACCIDENT, NEGLIGENCE OR
                                                                                                                     MISUSE. RECORDS SUPPORTING
                                                                                                                     THIS CLAIM ARE AVAILABLE FOR (1)
                                                                                                                     YEAR FROM THE DATE OF PAYMENT
                                                                                                                     NOTIFICATION AT THE SERVICING
                                                                                                                     DEALER    FOR   INSPECTION   BY
                                                                                                                     REPRESENTATIVES.


PAGE2OF 2                     ACCOUNTING COPY                                [ END OF INVOICE ]         01:41pm                       AUTHORIZED SIGNATURE
                                                                                                                                  The Reynokls and Reynolds Company ERAINTINVE
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                                        Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18
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                                                                                       •••
                                                                                                                                         Buick GMC
                                                                                                                                710 South Amity Rd. • Conway, Arkansas 72032
                                                                                                                                 (501) 329-6825 Business • (501) 329-9127 Fax




                    www.crainteam.com
                                                                                                                                                                                                CELL: 501-428-061~
  CUSTOMER NO.                                                                             ADVISOR                                                                                   INVOICE DATE    INVOICE NO.
                         1353499                                                           NICHOLAS BOYER                                   5Q87QITAG N07565                             07/17/17    PNCS907351
                                                                                           LABOR RATE                 I LICENSE NO.
                                                                                                                                                     IMILEAGE
                                                                                                                                                                  133,004 /
                                                                                                                                                                                     COLOR                         STOCK NO.

  CHRIS MILLER                                                                             YEAR/ MAKE / MOOa                                                                         oarvERY DATE                  DELIVERY MILES
  11 BUD CHUCK LN                                                                         10/CHEVROLET TRUCK/SILVERADO 1500/CR
  CONWAY, AR 72032-9788                                                                    VEHICLE 1.0. NO.                                                                          SaLING DEALER NO.             PRODUCTION DATE
                                                                                           3 GC R KP E 3 7 A G1 9 5 3 2 9
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 RESIDENCE PHONE
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                                                IBUSINESS PHONE                           COMMENTS
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 LABOB & fABTS • • • - • - • • • • • - ·: • • • - • - - ·: • - • • --~ • • • - • - • • • • • • - • - • ~-~ • - :;,,;,: • - ~ • - - • • ·:.;.:_:;,:.;;;-·:   =•-·"'"·· "="''"·.·~=               WARRANTY DISCLAIMER
 J#\mfio.ciftzog~~'lTIE~f~t~.uEN.GiN8IDi[fff[ii;liia8°B~'IJL~@(\Si)1:~990~1:-1:~f~i::#31'M,:~'il\"/f~:£'}8:40.:\oQ\il The                                                                 warranties on these parts are the
                        CUSTOMER STATES CHECK ENGINE LIGHT ON, HAS X-WARRANTY NEEDS                                                                                                 manufacturer's. The CRAIN AUTOMOTIVE
                        EST.                                                                                                                                                        TEAM Dealership disclaims all warranties,
                        ENGINE HAVING EXCESSIVE WEAR • KNOCKING & LOW OIL PRESSURE                                                                                                  either expressed or implied, including any
                        WHEN HOT                                                                                                                                                    implied warranty of merchantability or
                        (HAS OVER 8 THOUSAND MILES ON OIL CHANGE)                                                                                                                   fitness for a particular purpose. The CRAIN
                        (HAVE TORE DOWN ENGINE TO INSPECT PER X-WAR.)                                                                                                               AUTOMOTIVE TEAM Dealership doesn't
                        FOUND EXCESSIVE CRANKSHAFT ENDPLAY (MEASURED 0. 016, SPEC                                                                                                   assume nor authorize any person to assume
                        NO MORE THAN 0.0078) CYLINDER #4 & #8 ROD BEARINGS HAD                                                                                                      any liability in connection with the sale of
                        STARTED TO SPIN, SCORED CRANKSHAFT & #4 CYLINDER WALL.                                                                                                      theseparts.Thisdisclaimerinnowayaffects
                        DECLINED ENGINE REPLACEMENT & ANY & ALL REPAIRS·                                                                                                            the terms of the manufacturer's warranty.

                                                                                                   JOB#         1 TOTAL LABOR & PARTS                                840 • 00       IN CASE OF FIRE, THEFT OR ANY OTHER

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                        C/S POPPING NOISE WHILE DRIVING, NEEDS EST.                                                                                                                 NOT RESPONSIBLE FOR LOSS OR DAMAGE
                        U JOINTS FOR REAR DRIVE SHAFT WORE/NOISY                                                                                                                    TO VEHICLES OR ITEMS LEFT IN VEHICLES.
                        BOTH ENGINE MOUNTS BROKEN/LOOSE
                        UPPER & LOWER BALLJ0INTS HAVE SLACK/LOOSE, BOTH INNER                                                                                                           Shop Supplies and Environmental
                        TIE ROD ENDS LOOSE                                                                                                                                                     Disposal Charges
                        DECLINED ALL REPAIRS                                                                                                                                        A charge equal to 10% of the value of total
                                                                                                                                                                                    labor charges is due for all repairs. Applicable
                                                                                                   JOB #        2 TOTAL LABOR & PARTS                                   0. 00       supply ilems which are included in the charge

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                                                                                                                                                                                                              ~~rs~eafe~~~i~a~~:
                       C/S 4WD MAKING A LOUD NOISE ON DRIVER SIDE WHEN ENGAGED,                                                                                                     towels and other expendable _items which are
                       NEEDS EST.                                                                                                                                                   not otherwise specifically itemized on your
                       HAS MANUAL TRANSFER CASE • WORKING PROPERLY AT THIS                                                                                                          invoice. Environmental Disposal charges are
                       TIME                                                                                                                                                         to offset the cost of managing, storing and
                       NO REPAIRS MADE AT THIS TIME                                                                                                                                 disposing of wastes in accordance with local,
                                                                                                                                                                                    state and federal laws. The actual value of
                                                                                                   JOB #       3 TOTAL LABOR & PARTS                                    0.00        these items used in your repair may be more

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                       C/S TRANSMISSION FLUID LEAKING, NEEDS EST.                                                                                                                   ON BEHALF OF SERVICING DEALER, I
                       ALL TRANS COOLER LINES LEAKING                                                                                                                               HEREBY    CERTIFY   THAT   THE
                       REAR DIFF PINION SEAL LEAKING, ALL 4 SHOCKS WEAK/LEAKING                                                                                                     INFORMATION    CONTAINED     IS
                                                                                                                                                                                    ACCURATE: UNLESS OTHERWISE
                                                                                                  JOB #        4 TOTAL LABOR & PARTS                                    0.00        SHOWN    SERVICES    DESCRIBED

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                       C/S TRANSMISSION SLIPPING THEN BANGING HARD INTO GEAR, NEEDS                                                                                                 INDICATION FROM THE APPEARANCE
                       EST·                                                                                                                                                         OF THE VEHICLE OR OTHERWISE,
                       INTERNAL TRANS WEAR • FLUID DARK                                                                                                                             THAT ANY PART REPAIRED OR
                       DECLINED TRANSMISSION REPLACEMENT                                                                                                                            REPLACED UNDER THIS CLAIM HAD
                                                                                                                                                                                    BEEN CONNECTED IN ANY WAY WITH
                                                                                                  JOB #        S TOTAL LABOR & PARTS                                   O.OO         ANY ACCIDENT NEGLIGENCE OR

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                      PERFORM 27 POINT MULTI-POINT INSPECTION                                                                                                                       YEAR FROM THE DATE OF PAYMENT
                      COMPLETED 27 POINT MULTI-POINT INSPECTION                                                                                                                     NOTIFICATION AT THE SERVICING
                                                                                                  JOB #        6 TOTAL LABOR & PARTS                                   0.00         DEALER   FOR   INSPECTION                          BY
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 PAGE 1 OF2                                          CUSTOMER COPY                                             [CONTINUED ON NEXT PAGE]                         01:41pm                             AUTHORIZED SIGNATURE
                                                                                                                                                                                                The R~ynokfs and Reynolds Comp~ny ERAINTINVE
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                                                Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 44 of 51
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                                                                                                                                                                     BuickGMC
                                                                                                                                                            7 IO South Amity Rd • Conway, Arkansas 72032
                                                                                                                                                            (501) 329-6825 Business • (501) 329-9127 Fax




                                                                                                                                                                                                                                              CELL· 501-428-0619
 CUSlOMER NO.                                                                                                 ADVISOR                                                          ,ITAG NO                                   INVOICE DATE                   INVOICE NO.
                              13·53499                                                                       NICHOLAS BOYER                                               508701       '7555                                  07/17 /17                  PNCS907351
                                                                                                              LAIIORRATE                       I LICENSE NO.
                                                                                                                                                                                     IMILEAGE
                                                                                                                                                                                                      133,004 I
                                                                                                                                                                                                                          COLOR                         STOCK NO.

  CHRIS MILLER                                                                                                YEAR/ MAKE/ MODEL                                                                                           DELIVERY DATE                 DELIVERY MILES
 11 BUD CHUCK LN                                                                                             10/CHEVROLET TRUCK/SILVERADO 1500/CR
 CONWAY, AR 72032-9788                                                                                       VEHICLE 1.0. NO.                                                                                             SELLING DEALER NO.            PRODUCTION DATE
                                                                                                              3 GC R KP E 3 7 A G1 9 5 3 2 9
                                                                                                             F.T.E.NO.                                                     IP.O.NO.                                       R.O.OIO'E
                                                                                                                                                                                                                              06/12/17
 RESIOENCE PHONE
    501-428-0619
                                                          IBUSINESS PHONE                                    COMMENTS
                                                                                                                                                                                                                                                            MO: 133004
LABOR & ~AijJS • - - • • • - - • • - - - - ~ - - - - ~ - - - - - - • - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~ - - - - - - - - ~ - - -
                                                                                                                       WARRANTY DISCLAIMER                                                        .       . .     .
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Added Opera ti.on ( CHADW @ 07/11/2017 08: 24)                                                                manufacturer's. The CRAIN AUTOMOTIVE
               FOUND DURING VEHICLE INSPECTION                                                                TEAM Dealership disclaims all warranties,
               TIRE LAMP ON, BELT NOISE                                                                       either expressed or implied, including any
               CUSTOMER POSTPONED REPAIR                                                                      implied warranty of merchantability or
                                                                                                              fitness for a particular purpose. The CRAIN
                                                          JOB # 7 TOTAL LABOR & PARTS                 0,00 AUTOMOTIVE TEAM Dealership doesn't
- - - - - - - - - - - - - - - - - - - - - - .. • - - - - - - - .. • ...... - ......... • - - • ......... • - ... - ..... • ... • .. - • .. - - ..... • • - ..... - - • - • ... - .... • • - - - - • - - - - .. - - • •   assume nor authorize any person to assume
MISC-···· -CODE······· ·DESCRIPTION--················ - •• • ·········CONTROL NO-. - ••• -·.                                                                                                                             any liability in connection with the sale of
JOB # A         *SS ENVIRONMENTAL CHARGE                                                                                                                                                                   84 • OD       these parts. This disclaimer in no way affects
                                                                           TOTAL - MISC                                                                                                                    84.00
                                                                                                                                                                                                                         the terms of the manufacturer's warranty.
COMMENTS- • • • • • • • • • - • • - • - • • • • - - -· • • • • • • • • - • • • • • • • • • - • • • • • • • • • • • • • • • • • • • • • • • • • • - • • - - • • -                                                         IN CASE OF FIRE, THEFT OR ANV OTHER
CALL WITH EST. 501-428-0619
                                                                                                                                                                                                                         SITUATION BEYOND OUR CONTROL, WE ARE
TOTALS----·-··-·-··-----------------------------······--········-·--······-··--·-·-·············                                                                                                                         NOT RESPONSIBLE FOR LOSS OR DAMAGE
                                                                                                                                                                                                                         TO VEHICLES OR ITEMS LEFT IN VEHICLES.
THANK YOU FOR ALLOWING CRAIN BUICK, GMC                                                                                                              TOTAL        LABOR ••••                            840,00
TO SERVICE YOUR VEHICLE. WE STRIVE TO GAIN YOUR COMPLETE                                                                                             TOTAL        PARTS ••••                              0.00                Shop Supplies and Environmental
SATISFACTION WITH EACH VISIT. YOU MAY .RECEIVE A CUSTOMER                                                                                            TOTAL        SUBLET •••                              0.00                         Disposal Charges
SATISFACTION SURVEY FROM GENERAL MOTORS ASKING YOU TO                                                                                                TOTAL        G.0.G ••••                              0.00            A charge equal to 10% of the value of total
RATE YOUR SERVICE EXPERIENCE. IF, FOR ANY REASON, YOU                                                                                                TOTAL        MISC CHG.                              84,00            labor charges is due for all repairs. Applicable
CANNOT CHECK "COMPLETELY SATISFIED," PLEASE CONTACT YOUR                                                                                             TOTAL        MISC DISC                               0.00            supply items which are included in the charge
SERVICE ADVISOR IMMEDIATELY.                                                                                                                         TOTAL        TAX ••.•.•                             80.85           include fasteners, cleaners, chemicals,
                                                                                                                                                                                                                         solvents, lubricants, certain sealers, rags,
                                                                                                                                            TOTAL INVOICE$                                         1004.85               towels and other expendable items which are
                                                                                                                                                                                                                         not otherwise specilically itemized on your
                                                                                                                                                                                                                         invoice. Environmental Disposal charges are
              CUSTOMER SIGNATURE                                                                                                                                                                                         to offset the cost of managing, storing and
**************************                                          0 UP L I C AT E                             I NVO I C E                              ***************************                                     disposing of wastes in accordance with local,
                                                                                                                                                                                                                         slate and federal laws. The actual value of
                                                                                                                                                                                                                         these Items used in your repair may be more
                                                                                                                                                                                                                         or less than the value you are charged.

                                                                                                                                                                                                                         ON BEHALF OF SERVICING DEALER, I
                                                                                                                                                                                                                         HEREBY     CERTIFY   THAT   THE
                                                                                                                                                                                                                         INFORMATION      CONTAINED    IS
                                                                                                                                                                                                                         ACCURATE: UNLESS OTHERWISE
                                                                                                                                                                                                                         SHOWN     SERVICES    DESCRIBED
                                                                                                                                                                                                                         WERE PERFORMED AT NO CHARGE
                                                                                                                                                                                                                         TO   OWNER. THERE WAS        NO
                                                                                                                                                                                                                         INDICATION FROM THE APPEARANCE
                                                                                                                                                                                                                         OF THE VEHICLE OR OTHERWISE,
                                                                                                                                                                                                                         THAT ANY PART REPAIRED OR
                                                                                                                                                                                                                         REPLACED UNDER THIS CLAIM HAD
                                                                                                                                                                                                                         BEEN CONNECTED IN ANY WAY WITH
                                                                                                                                                                                                                         ANY ACCIDENT, NEGLIGENCE OR
                                                                                                                                                                                                                         MISUSE. RECORDS SUPPORTING
                                                                                                                                                                                                                         THIS CLAIM ARE AVAILABLE FOR (1)
                                                                                                                                                                                                                         YEAR FROM THE DATE OF PAYMENT
                                                                                                                                                                                                                         NOTIFICATION AT THE SERVICING
                                                                                                                                                                                                                         DEALER    FOR   INSPECTION   BY
                                                                                                                                                                                                                         REPRESENTATIVES.


PAGE2OF2                                                        CUSTOMER COPY                                                                      [ END OF INVOICE ]                           01:41pm                                  AUTHORIZED SIGNATURE
                                                                                                                                                                                                                                      TM Reynold$ and Reynolds Company ERAINTINVE
                                                                                                                                                                                                                                                           SF619091 0 (09116)
                                        Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 45 of 51

                                                                                                                                                 61                       r          · PNCS907351
                                                                                                                                            CRAl,w
                                                                                                                                     BuickGMC
                                                                                                                               710 South Amity Rd • Conway, Arkansas 72032
                                                                                                                               (501) 329·6825 Business_• {SOI) 329-9127 Fax




                   www.crainteam.com
                                                                                                                                                                                          CELL: 501-428-0619
 CUSTOMER NO.                                                                           AOVISOR                                                       I
                                                                                                                                                      • TAG NO                  INVOICE DATE   INVOICE NO.
                        1353499                                                         NICHOLAS BOYER                                   508701                7565                 07/17/17 PNCS907351
                                                                                        LABOR RATE                  ILICENSE NO.
                                                                                                                    133,004 I
                                                                                                                                                  IMILEAGE                      COLOR                        STOCK NO.

 CHRIS MILLER                                                                           VEAR/ MAKE/ MODa                     DalVERV DATE                                                                    OEUVERY MILES
 11 BUD CHUCK LN                                                                        10/CHEVROLET TRUCK/SILVERADO 1500/CR
 CONWAY, AR 72032-9788                                                                  VEHICLE I.D. NO.                                                                        SEWNG DEALER NO.             PRODUCTION DATE
                                                                                         3 GCRKP E 3 7 AG1 9 5 3 2 9
                                                                                        F.T.E.NO.                                                                               R.O.DATE
                                                                                                                                                                                   06/12/17
 RESIDENCE PHONE
     501-428-0619
                                              I BUSINESS PHONE                          COMMENTS
                                                                                                                                                                                                                 MO: 133004
LABOR &.PARTS--·-····,···s·························································                                                                                                        WARRANTY DISCLAIMER
J# 110CVZ06         CHECK ENGINE LIGHT                 TECHCS):14990                                                                                              840. 00 The warranties on these parts are the
            CUSTOMER STATES CHECK ENGINE LIGHT ON, HAS X•WARRANTY NEEDS                                                                                                   manufacturer's. The CRAIN AUTOMOTIVE
            EST.                                                                                                                                                          TEAM Dealership disclaims all warranties,
            ENGINE HAVING EXCESSIVE WEAR· KNOCKING & LOW OIL PRESSURE                                                                                                     either expressed or implied, including any
            WHEN HOT                                                                                                                                                      implied warranty of merchantability or
            CHAS OVER 8 THOUSAND MILES ON OIL CHANGE)                                                                                                                     fitness for a particular purpose. The CRAIN
            (HAVE TORE DOWN ENGINE TO INSPECT PER X•WAR.)                                                                                                                 AUTOMOTIVE TEAM Dealership doesn't
            FOUND EXCESSIVE CRANKSHAFT ENDPLAY (MEASURED 0.016, SPEC                                                                                                      assume nor authorize any person to assume
            NO HORE THAN 0.0078) CYLINDER #4 & #8 ROD BEARINGS HAD                                                                                                        any liability in connection with the sale of
            STARTED TO SPIN, SCORED CRANKSHAFT & #4 CYLINDER WALL.                                                                                                        these parts. This disclaimer in no way affects
            DECLINED ENGINE REPLACEMENT & ANY & ALL REPAIRS.
                                                                                                                                                                          the terms of the manufacturer's warranty.
                                                                                                 JOB# 1 TOTAL LABOR & PARTS                                          840 •00
........... -....... -............ ·--- -.................... -.. -........ -.. -- ......... - ....... - ........................ - ................ -- -- --... -.......
                                                                                                                          "'                                              ---   IN CASE OF FIRE, THEFT OR ANY OTHER
                                                                                                                                                                                SITUATION BEYOND OUR CONTROL, WE ARE
J#   2 45CVZ03                STEERING/SUSPENSION                 TECH(S):14990                                                                                      0.00
                      C/S POPPING NOISE WHILE DRIVING, NEEDS EST.                                                                                                               NOT RESPONSIBLE FOR LOSS OR DAMAGE
                      U JOINTS FOR REAR DRIVE SHAFT WORE/NOISY                                                                                                                  TO VEHICLES OR ITEMS LEFT IN VEHICLES.
                      BOTH ENGINE MOUNTS BROKEN/LOOSE
                      UPPER & LOWER BALLJOINTS HAVE SLACK/LOOSE, BOTH INNER                                                                                                        Shop Supplies and Environmental
                      TIE ROD ENDS LOOSE                                                                                                                                                  Disposal Charges
                      DECLINED ALL REPAIRS                                                                               A charge equal to 10% of the value of total
                                                                                                                         labor charges is due for all repairs. Applicable
                                                            JOB# 2 TOTAL LABOR &PARTS                              0.00 supply Items which are included in the charge
- ·--·
  . .....        --- -- .. -- -- --
                ··- -                                      ---                    -- --                 ---                            --
                            --.... - ........... -- ... ............ ........... ---· -- . - ........... ---- --. ---- . Include fasteners, cleaners, chemicals,
J# 3 47CVZ05          AXLE/DIFFERENTIAL                         TECH(S):14990                                      0.00 solvents, lubricants, certain sealers, rags.
             C/S 4WD MAKING A LOUD NOISE ON DRIVER SIDE WHEN ENGAGED.                                                    towels and other expendable items which are
             NEEDS EST.                                                                                                  not otherwise specifically ilemized on your
             HAS MANUAL TRANSFER CASE· WORKING PROPERLY AT THIS                                                          invoice. Environmental Disposal charges are
             TIME                                                                                                        to offset the cost of managing, storing and
             NO REPAIRS MADE AT THIS TIME                                                                                disposing of wastes in accordance with local,
                                                                                                                         state and federal laws. The actual value of
                                                           JOB # 3 TOTAL LABOR & PARTS                             O•00 these items used in your repair may be more
ji.4.3ocvi04·········Auro·i-RANsMissioN··················rr2Hcs>;i499o·······················o:oo or less than the value you are charged.
                      C/S TRANSMISSION FLUID LEAKING, NEEDS EST.                                   ON BEHALF OF SERVICING DEALER, I
                      ALL TRANS COOLER LINES LEAKING                                               HEREBY     CERTIFY THAT     THE
                      REAR DIFF PINION SEAL LEAKING, ALL 4 SHOCKS WEAK/LEAKING                     INFORMATION     CONTAINED     IS
                                                                                                   ACCURATE: UNLESS OTHERWISE
                                                      JOB# 4 TOTAL LABOR &PARTS               0.00 SHOWN     SERVICES   DESCRIBED
ji·s·3ocvio6·········Aui-o·TRANsMissioN··················rr2Hcs>;i499o·······················o:oo TO
                                                                                                   WERE PERFORMED AT NO CHARGE
                                                                                                        OWNER. THERE WAS NO
            C/S TRANSMISSION SLIPPING THEN BANGING HARD INTO GEAR, NEEDS                           INDICATION FROM THE APPEARANCE
            EST.                                                                                   OF THE VEHICLE OR OTHERWISE,
            INTERNAL TRANS WEAR· FLUID DARK                                                        THAT ANY PART REPAIRED OR
            DECLINED TRANSMISSION REPLACEMENT                                                      REPLACED UNDER THIS CLAIM HAD
                                                      JOB # 5 TOTAL LABOR & PARTS             0.00 BEEN CONNECTED IN ANY WAY WITH
                                                                                                   ANY ACCIDENT, NEGLIGENCE OR
i.6.iocvzggp········iNsPECTioN·REPORT··················rrcHCS);i4990·······················o:oo MISUSE. RECORDS SUPPORTING
            PERFORM 27 POINT MULTl·POINT INSPECTION                                                THIS CLAIM ARE AVAILABLE FOR (1)
            COMPLETED 27 POINT MULTI·POINT INSPECTION                                              YEAR FROM THE DATE OF PAYMENT
                                                                                                   NOTIFICATION AT THE SERVICING
                                                     JOB# 6 TOTAL LABOR &PARTS                0.00 DEALER FOR INSPECTION BY
                                                                                                   REPRESENTATIVES.


PAGE 1 OF2                                      SERVICE FILE COPY                                           [CONTINUED ON NEXT PAGE]                       10:20am                             AUTHORIZED SIGNATURE
                                                                                                                                                                                           Th~ Reynolds and Reynolds Company ERAINTINVE
                                        Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 46 of 51

                                                                                                                                                                                   PNCS907351
                                                                                                                                           CRAIN                                                                                      "'tJ
                                                                                                                                      BuickGMC                                                                                        z
                                                                                                                                                                                                                                      (')
                                                                                                                              7 IO South Amity Rd • Conway, Arkansas 72032                                                            u,
                                                                                                                               (501) 329-6825 Business • (501) 329-9127 Fax                                                       CD
                                                                                                                                                                                                                                  ....,
                                                                                                                                                                                                                                  0
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                                                                                                                                                                                                                                  CJ'I
                                                                                                                                                                                                                                  ~




                                                                                                                                                                                               CELL: 501-428-0619
 CUSTOMER NO.                                                                            ADVISOR                                                       .ITAG NO            INVOICE DATE                  INVOICE NO.
                         1353499                                                         NICHOLAS BOYER                                    508701             .7565            07 /17 /17                PNCS907351
                                                                                         LABOR RATE                  ILICENSE NO.
                                                                                                                                                   IMILEAGE
                                                                                                                                                              133,004 /
                                                                                                                                                                           COLOR                         STOCK NO.

 CHRIS MILLER                                                                            YEAR/ MAKE / MODEL                                                                DELIVERY DATE                 DELIVERY MILES
 11 BUD CHUCK LN                                                                         10/CHEVROLET TRUCK/SILVERADO 1500/CR
 CONWAY, AR 72032-9788                                                                   VEHICLE 1.0. NO.                                                                  SELLING DEALER NO.            PRODUCTION DATE
                                                                                          3 GCRKP                        E   3 7 A G1 9 5 3 2 9
                                                                                         F.T.E.NO.                                         rO.NO.                          R.O.DATE
                                                                                                                                                                               06/12/17
 RESIDENCE PHONE
    501-428-0619
                                               IBUSINESS PHONE                           COMMENTS
                                                                                                                                                                                                            MO: 133004
LABOR & PARTS· · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · -· · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · ·                            WARRANTY DISCLAIMER
J# 7+55CVZOTHER             RED· OTHER                                                           TECH(S):14990                                                     0.00   The warranties on these parts are the
Added Operation (CHADW@ 07/11/2017 08:24)                                                                                                                                 manufacturer's. The CRAIN AUTOMOTIVE
             FOUND DURING VEHICLE INSPECTION                                                                                                                              TEAM Dealership disclaims all warranties,
             TIRE LAMP ON, BELT NOISE                                                                                                                                     either expressed or implied, including any
             CUSTOMER POSTPONED REPAIR                                                                                                                                    implied warranty of merchantability or
                                                                                                                                                                          fitness for a particular purpose. The CRAIN
                                                                                                  JOB# 7 TOTAL LABOR &PARTS                                        0.00   AUTOMOTIVE TEAM Dealership doesn't
                                                                                                                                                                          assume nor authorize any person to assume
MISC·-····CDDE········DESCRIPTION•······························CONTROL NO•········                                                                                       any liability in connection with the sale of
JOB# A        *SS ENVIRONMENTAL CHARGE                                                                                                                            84.00   these parts. This disclaimer in no way affects
                                                                      TOTAL · MISC                                                                                84.00   the terms of the manufacturer's warranty.
COMMENTS·· · · · · · -· · · · · · · · · · -· · · · · · · · · · -· · --· · · · · · · · · · · · · · · · · · · · -· · · · · · · · · · · · · --· · · · · ·                    IN CASE OF FIRE, THEFT OR ANY OTHER
CALL WITH EST. 501-428-0619                                                                                                                                               SITUATION BEYOND OUR CONTROL, WE ARE
TOTALS-············ -·· · · ··· · · ·· ·· ······ -· · -· ·· · ·· · · -- ··· ·· ···· · ··· · ·· ········ · ·· · -· · · -···· -· · -· ·                                     NOT RESPONSIBLE FOR LOSS OR DAMAGE
                                                                                                                                                                          TO VEHICLES OR ITEMS LEFT IN VEHICLES.
THANK YOU FOR ALLOWING CRAIN BUICK, GMC                                                    TOTAL LABOR ... .               840.00
TO SERVICE YOUR VEHICLE. WE STRIVE TO GAIN YOUR COMPLETE                                   TOTAL PARTS ... .                   0.00                                            Shop Supplies and Environmental
SATISFACTION WITH EACH VISIT. YOU MAY RECEIVE A CUSTOMER                                   TOTAL SUBLET .. .                   0.00                                                     Disposal Charges
SATISFACTION SURVEY FROM GENERAL MOTORS ASKING YOU TO                                      TOTAL G.O.G ... .                   0.00                                        A charge equal to 10% of the value of total
RATE YOUR SERVICE EXPERIENCE. IF, FOR ANY REASON. YOU                                      TOTAL MISC CHG.                    84.00                                        labor charges is due for all repairs. Applicable
CANNOT CHECK "COMPLETELY SATISFIED," PLEASE CONTACT YOUR                                   TOTAL MISC DISC                     0.00                                       supply items which are included in lhe charge
SERVICE ADVISOR IMMEDIATELY.                                                               TOTAL TAX ..... .                  80.85                                       include fasteners, cleaners, chemicals,
                                                                                                                         -- . -- ---                                      solvents, lubricants, certain sealers, rags,
                                                                                      TOTAL INVOICE $                   1004.85                                            towels and other expendable items which are
                                                                                                                                                                          not otherwise specifically itemized on your
                                                                                                                                                                          invoice. Environmental Disposal charges are
           CUSTOMER SIGNATURE                                                                                                                                             to offset the cost of managing, storing and
                                                                                                                                                                          disposing of wastes in accordance with local,
                                                                                                                                                                          state and federal laws. The actual value of
                                                                                                                                                                          these items used in your repair may be more
                                                                                                                                                                          or less than the value you are charged.

                                                                                                                                                                          ON BEHALF OF SERVICING DEALER, I
                                                                                                                                                                          HEREBY     CERTIFY   THAT   THE
                                                                                                                                                                          INFORMATION      CONTAINED    IS
                                                                                                                                                                          ACCURATE: UNLESS OTHERWISE
                                                                                                                                                                          SHOWN     SERVICES    DESCRIBED
                                                                                                                                                                          WERE PERFORMED AT NO CHARGE
                                                                                                                                                                          TO   OWNER. THERE WAS        NO
                                                                                                                                                                          INDICATION FROM THE APPEARANCE
                                                                                                                                                                          OF THE VEHICLE OR OTHERWISE,
                                                                                                                                                                          THAT ANY PART REPAIRED OR
                                                                                                                                                                          REPLACED UNDER THIS CLAIM HAD
                                                                                                                                                                          BEEN CONNECTED IN ANY WAY WITH
                                                                                                                                                                          ANY ACCIDENT, NEGLIGENCE OR
                                                                                                                                                                          MISUSE. RECORDS SUPPORTING
                                                                                                                                                                          THIS CLAIM ARE AVAILABLE FOR (1)
                                                                                                                                                                          YEAR FROM THE DATE OF PAYMENT
                                                                                                                                                                          NOTIFICATION AT THE SERVICING
                                                                                                                                                                          DEALER    FOR   INSPECTION   BY
                                                                                                                                                                          REPRESENTATIVES.


PAGE 2 OF 2                                      SERVICE FILE COPY                                                     [ END OF INVOICE ]                   10:20am                       AUTHORIZED SIGNATURE
                                                                                                                                                                                      The Roynok:fs and Reynolds Company ERAINTINVE
                               Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 47 of 51
 06/06"/2018                                HISTORY LISTING
 13:16:08                                                                               PAGE 1


 CUSTOMER NAME: CHRIS MILLER                                    SERIAL NO.   : 3GCRKPE37AG195329

 R.O NO. : 907351               R.O DATE    06/12/2017             R.O TYPE : S
                                MILEAGE     133004                ADVISOR NO. : 50870


JOB NUMBER          1      OPERATION 10CVZ06              OP. DESC. CHECK ENGINE LIGHT
SALE TYPE           C      TECHNICIAN NO(S).    14990
COMPLAINT           CUSTOMER STATES CHECK ENGINE LIGHT ON, HAS X-WARRANTY NEEDS
                    EST.
CAUSE               ENGINE HAVING EXCESSIVE WEAR - KNOCKING         &   LOW OIL PRESSURE
                WHEN HOT
                (HAS OVER 8 THOUSAND MILES ON OIL CHANGE)
ORIGINAL            ENGINE HAVING EXCESSIVE WEAR - KNOCKING         &   LOW OIL PRESSURE
CAUSE           WHEN HOT
CORRECTION          (HAVE TORE DOWN ENGINE TO INSPECT PER X-WAR.)
                FOtJND EXCESSIVE CRANKSHAFT ENDPLAY (MEASURED 0.016, SPEC
                NO MORE THAN 0.0078) CYLINDER #4 & #8 ROD BEARINGS HAD
                STARTED TO SPIN, SCORED CRANKSHAFT          &    #4 CYLINDER WALL.
                DECLINED ENGINE REPLACEMENT & ANY & ALL REPAIRS.
ORIGINAL            (HAVE TORE DOWN ENGINE TO INSPECT - 6.0 HRS)
CORRECTION


JOB NUMBER      2       OPERATION 45CVZ03                OP. DESC. STEERING/SUSPENSION
SALE TYPE       C       TECHNICIAN NO(S).      14990
COMPLAINT       C/S POPPING NOISE WHILE DRIVING, NEEDS EST.
CAUSE           U JOINTS FOR REAR DRIVE SHAFT WORE/NOISY
                BOTH ENGINE MOUNTS BROKEN/LOOSE
                UPPER & LOWER BALLJOINTS HAVE SLACK/LOOSE, BOTH INNER
                TIE ROD ENDS LOOSE
CORRECTION      DECLINED ALL REPAIRS


JOB NUMBER      3       OPERATION 47CVZOS                OP. DESC. AXLE/DIFFERENTIAL
SALE TYPE       C       TECHNICIAN NO(S).      14990
COMPLAINT       C/S 4WD MAKING A LOUD NOISE ON DRIVER SIDE WHEN ENGAGED,
                NEEDS EST.
CAUSE           HAS MANUAL TRANSFER CASE - WORKING PROPERLY AT THIS
                TIME
CORRECTION      NO REPAIRS MADE AT THIS TIME


JOB NUMBER: 4           OPERATION 30CVZ04                OP. DESC. AUTO TRANSMISSION
SALE TYPE       C       TECHNICIAN NO(S).      14990
COMPLAINT       C/S TRANSMISSION FLUID LEAKING, NEEDS EST.
CAUSE           ALL TRANS COOLER LINES LEAKING
                REAR DIFF PINION SEAL LEAKING, ALL          4   SHOCKS WEAK/LEAKING


JOB NUMBER      5       OPERATION 30CVZ06                OP. DESC. AUTO TRANSMISSION
:!ALE    TYPE   C       TECHNICIAN NO(S).      14990
:OMPLAINT       c/s TRANSMISSION SLIPPING THEN BANGING HARD INTO GEAR, NEEDS
                EST.
::AUSE          INTERNAL TRANS WEAR - FLUID DARK
:ORRECTION      DECLINED TRANSMISSION REPLACEMENT
                           Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 48 of 51
 06/0f/2018                             HISTORY LISTING
 13:16:08                                                                        PAGE 2



 JOB NUMBER       6    OPERATION 10CVZ99P             OP. DESC. INSPECTION REPORT
 SALE TYPE        C    TECHNICIAN NO(S). 14990
 COMPLAINT        PERFORM 27 POINT MULTI-POINT INSPECTION
 CORRECTION       COMPLETED 27 POINT MULTI-POINT INSPECTION

JOB NUMBER     7   OPERATION 55CVZOTHER        OP. DESC. RED - OTHER
SALE TYPE      C TECHNICIAN NO(S). 14990
COMPLAINT      FOUND DURING VEHICLE INSPECTION
CAUSE          TIRE LAMP ON, BELT NOISE
CORRECTION     CUSTOMER POSTPONED REPAIR



COMMENTS      CALL WITH EST. 501-428-0619



R.O·NO, : 121128           R.O DATE     01/11/2017         R,O TYPE: S
                           MILEAGE      125465             ADVISOR NO. : 90610


JOB NUMBER    l       OPERATION lOCVZ                OP. DESC. DRIVEABILITY
SALE TYPE     C TECHNICIAN NO(S). 14990
COMPLAINT     C/S CHECK ENGINE LIGHT ON. OIL PRESSURE DROPPING AND SAYS TO
              TURN OFF VEHICLE. VEHICLE MAKING A GRINDING /KNOCKING NOISE,
              OIL SENDING UNIT HAS BE REPLACED TWICE, EXT WARRANTY
CAUSE         OIL RELIEF VALVE STICKING OPEN RESULTING IN LOW PRESSURE
              TO OIL PRESSURE SENSOR SETTING P0521,
CORRECTION    REPLACED OIL RELIEF VALVE IN OIL PAN & PEFORMED OIL CHANGE
              (UPON INSPECTION FOUND OIL PRESSURE SENSOR CONNECTOR
              DAMAGED - LOCKTAB BROKEN OFF) (STAYING ON AT THIS TIME)
              RETESTED - OIL PRESSURE NOW WITH-IN FACTORY SPEC & PASSING
              SPECIFIC DTC TEST.


JOB NUMBER    2       OPERATION 10CVZ99P             OP. DESC. INSPECTION REPORT
SALE TYPE     C       TECHNICIAN NO(S). 14990
COMPLAINT     PERFORM 27 POINT MULTI-POINT INSPECTION
CORRECTION    COMPLETED 27 POINT MULTI-POINT INSPECTION


JOB NUMBER    3   OPERATION 56CVZLEAK         OP. DESC. YELLOW - FLUID LEAK
SALE TYPE     C TECHNICIAN NO(S). 14990
COMPLAINT     FOUND DURING VEHICLE INSPECTION
CAUSE         FLUID LEAK WILL REQUIRE ATTETNION SOON
              ALL TRANS COOLER LINES, BOTH FRONT AXLE SEALS LEAKING
CORRECTION    CUSTOMER WAS INFORMED OF CONCERN


JOB NUMBER    4       OPERATION 56CVZSOSP            OP. DESC. YELLOW - SUSPENSION
SALE TYPE     C       TECHNICIAN NO(S), 14990
COMPLAINT     FOUND DURING VEHICLE INSPECTION
CAUSE         SUSPENSION CONCERN WILL REQUIRE ATTENTION SOON
              BOTH FRONT STRUTS & BOTH REAR SHOCKS WEAK/LEAKING
:ORRECTION    CUSTOMER WAS INFORMED OF CONCERN
                        Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 49 of 51
06/0a/201s                           HISTORY LISTING
13:16:08                                                                       PAGE 3




JOB NUMBER    5   OPERATION 56CVZBELT          OP. DESC. YELLOW - BELT
SALE TYPE     C TECHNICIAN NO(S). 14990
COMPLAINT     FOUND DURING VEHICLE INSPECTION
CAUSE         BELT(S) WILL REQUIRE ATTENTION SOON
              BOTH BELTS WORE
CORRECTION    CUSTOMER WAS INFORMED OF CONCERN


JOB NUMBER   6   OPERATION 56CVZOTHER        OP. DESC. YELLOW - OTHER
SALE TYPE    C TECHNICIAN NO(S). 14990
COMPLAINT    FOUND DURING VEHICLE INSPECTION
CAUSE        CONCERN WILL REQUIRE ATTENTION SOON
             TIRE LAMP ON
CORRECTION   CUSTOMER WAS INFORMED OF CONCERN

JOB NUMBER   7     OPERATION 20CVZ              OP. DESC. *A/C   &   HEATING
SALE TYPE    C     TECHNICIAN NO(S).   14990
COMPLAINT    C/S VEHICLE IS MAKING LOUD GRINDING NOISE COMING FROM UNDER
             THE HOOD
CAUSE        BEARING IN A/C COMPRESSOR BAD NOISY
CORRECTION   REPLACED A/C COMPRESSOR, EVACUATED &
             RECHARGED A/C SYSTEM. (NO FURTHER ABNORMAL NOISE HEARD)
             NO WARRANTY ON COMPRESSOR FROM WHERE IT WAS BOUGHT BECAUSE
             THE DRYER WAS NOT REPLACED



COMMENTS     DROP OFF 501•428-0619 EXT WARRANTY
             SUPERIOR PROTECTION PLAN
             l-866-410-6748
             AUTH AMOUNT $485.84
             AUTII NUMBER 80271288
             DEDUCTIBLE $100.00

             AUTH AMOUNT $762.25
             AU'l'H NUMBER 3269965
             FAX ATTENTION CASHIER
             l-972-813-0717


RECOMMEND    TECH RECOMMENDATION ON RO#l21128
             FRONT STRUTS LEAKING
             REAR SHOCKS LEAKING
             AXLE SEAL LEAKING
             CALL HEATH FOR APPOINTMENT 501-932-0654
      Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 50 of 51
                                                                                     ELECTRONICALLY FILED
                                                                                       Faulkner County Circuit Court
                                                                                        Crystal Taylor, Circuit Clerk
                                                                                      2018-Jun-27 10:09: 17
                                                                                          23CV-18-955
                                                                                        C20D02 : 2 Pages




Christopher Miller and Kaci Miller v. First Automotive Service Corporation, et al.
Circuit Court of Faulkner County, Arkansas
PLAINTIFF's COMPLAINT
              Case 4:18-cv-00502-DPM Document 2 Filed 08/02/18 Page 51 of 51

                                     Order To Impound Repo
   Date Assigned: 07/17/2017       Acct#: 82629642            case#: 2053622485            Reference#: 4836
  Client; Credit Acceptance                                  To: A Professional Auto Recoyeiy
  25505 W12 Mlle Road                                        3605hwy161
  Southfield, Michl 48034                                    Nlr,AR72117
  Phone: 800-303-1228 Fax:                                   Phone:5017472571Fax:5017471527
  By: BIANCA GIBSON/ 800-303-1228 EXT: 4199
  Uen Holder: Credit Acceptance    .                         Adjusters:
  Debtor: KACI MILLER                                        Cosigner: CHRISTOPHER MILLER
  SSN: redacted DOB: redacted                                SSN: redacted DOB: redacted
  Borrower - Home                                            Borrower- Work Name: ss
  CRAIN BUICK GMC 710 S AMITY RD
  CONWAY AR   72032
  Phone:5014286656
  Borrower - Work Name: ss                                   Co Signer - Home
                                                             13 Bud Chuck Ln
                                                             Conway AR 72032
                                                             Phone:5014280619
 Co Signer- Work Name: RENTAL CONCEPTS                       Landlord Address Name: KAREN E HOLMES
 LLC

 CONWAY AR
 Phone:50132n655
 Additional Information:
 Debtors DL Num:
 Cosigners DL Num:
 Employment Dept
 Supervisors Phone:
 Length At Address: 10yrs 2months
 OWnsRenls: RENTS
Vehicle Style: Crew Cab 4
Keys Sent
Dealer Phone: 5016791285
Ins Company: STAiE FARM
Ins Exp:
Notes:
CACDATA:
Debtor& Address History:
Cosigners Address History:
Starter Interrupt GPS PR
Secondary Phone:
Tertiary Phone:
Department at place of employment:
Supervisors phone:

Year. 2010                                      Make: Chevrolet    Model: Sllverado             Color. WHITE
Lie#:                                           St                 VIN:   3GCRKPE37AG195329
D~er: II FRIENDS AUTO SALES LLC                 Key Codes:

      Monthly Payments                Balance on Account           Amount Past Due              Delinquent Since

Date Rec'd:                  Time:           AM/PM         PD:                         1.0.#:
Recovered From:
Adjuster:                               Comm$:                               RepoFee$:
MIies on Vehicle:                       Tags:                                Other Charges $:
Major Damage: ( ) Personals: ( )
Drlveable: ( )                                                               BIii to Customer $:

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